Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4859 Page 1 of 50




                              EXHIBIT 2
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4860 Page 2 of 50
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4861 Page 3 of 50
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4862 Page 4 of 50
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4863 Page 5 of 50
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4864 Page 6 of 50
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4865 Page 7 of 50
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4866 Page 8 of 50




                            Exhibit A
     Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4867 Page 9 of 50
                                              UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA

    TODD SCHUENEMAN, on behalf of himself and all                            Case No. 3:10-cv-01959-CAB (BLM)
    others similarly situated,
                                                                             CONSOLIDATED CLASS ACTION
                           Plaintiff,
            v.                                                               NOTICE OF PENDENCY AND PROPOSED
                                                                             SETTLEMENT OF CLASS ACTION
    ARENA PHARMACEUTICALS, INC., JACK LIEF,
    ROBERT E. HOFFMAN, DOMINIC P. BEHAN,
    WILLIAM R. SHANAHAN, and CHRISTY
    ANDERSON,
                           Defendants.

                                NOTICE OF PENDENCY AND PROPOSED SETTLEMENT
                                              OF CLASS ACTION

 IF YOU PURCHASED THE COMMON STOCK OF ARENA PHARMACEUTICALS, INC. (“ARENA” OR
THE “COMPANY”) FROM MARCH 17, 2008 THROUGH JANUARY 27, 2011, INCLUSIVE, YOUR RIGHTS
 ARE AFFECTED AND YOU COULD RECEIVE A PAYMENT FROM THE PROPOSED CLASS ACTION
                                   SETTLEMENT.

                        A Federal Court authorized this notice. This is not a solicitation from a lawyer.
                                         This is not a notice that you have been sued.

        This settlement (the “Settlement”) will provide $12,025,000 in cash, plus interest, and Arena common stock
         with a value of $11,975,000 (“Settlement Shares”) (Arena has the option to pay all or part of the Settlement
         Shares in cash at the time Arena is to issue the Settlement Shares), for a total settlement value of $24 million, to
         pay claims from investors who purchased Arena common stock from March 17, 2008 through January 27, 2011,
         inclusive (the “Class Period”), and were damaged thereby. Depending on the number of eligible shares
         purchased by investors who elect to participate in the Settlement, and when those shares were purchased and
         sold, the average distribution is estimated to be $0.13 per damaged share before deduction of Court-approved
         fees and expenses described below. A further description of the Plan of Allocation is on pages 13 to 18 below.1

        The Settlement, subject to court approval, resolves class action claims alleging that Arena and certain of its
         former officers and directors violated the federal securities laws by making false or misleading statements and
         failing to disclose material facts.

        For Lead Plaintiff, the principal reason for the Settlement is the benefit to be provided to the Settlement Class
         now, while avoiding the costs and risks to you and the Settlement Class from continuing with litigation. The
         Lead Plaintiff conducted a substantial investigation and discovery into the facts of the case prior to reaching the
         Settlement, and considered the risks of proving liability and damages, in addition to the further risk that a later
         judgment may not be as large as the Settlement amount. For Defendants, the principal reason for the Settlement
         is to eliminate the expense, risks, and uncertainty of continued litigation.

        If the Settlement is approved by the Court, the Court-appointed lawyers for Settlement Class Members, Kaplan
         Fox & Kilsheimer LLP, will apply to the Court for an award of attorneys’ fees not to exceed 30% of the
         Settlement Fund, and for reimbursement of expenses not to exceed $350,000.00 incurred in investigating the
         facts, prosecuting the case, and negotiating the Settlement. In addition, Lead Plaintiff may seek reimbursement
         in an amount not to exceed $25,000.00 for reasonable costs and expenses in connection with his representation
         of the Class. These payments, if approved, will come out of the $24 million Settlement Fund, and are estimated
         to be an average of $0.04 per damaged share.

1
 Capitalized terms that are not defined in this Notice are defined in the Stipulation and Agreement of Settlement dated November 3, 2017, which is
available at www.ArenaPharmaceuticalsClassActionSettlement.com.


                              NOTICE OF PENDENCY AND PROPOSED SETTLEMENT OF CLASS ACTION
    Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4868 Page 10 of 50
      Lead Plaintiff and the Defendants do not agree on the average amount of damages per share that would be
       recoverable if the Lead Plaintiff were to have prevailed on each claim alleged. The issues on which the parties
       disagree include: (1) whether the Defendants violated the federal securities laws; (2) whether the alleged federal
       securities laws violations actually caused any damage to investors; and (3) whether the allegedly false or
       misleading statements and omissions caused the price of Arena’s common stock to be artificially inflated during
       the Class Period, and if so, the amount by which Arena’s common stock was allegedly artificially inflated (if at
       all) during the Class Period.

      If you are a Settlement Class Member (as the term is defined below), your legal rights are affected by the
       Settlement, regardless of whether you act or do not act. Read this notice carefully.

      If you have questions about the proposed Settlement, or would like further information about the lawsuit, you
       may contact Lead Counsel at:

                                                 Jeffrey P. Campisi
                                         KAPLAN FOX & KILSHEIMER LLP
                                            850 Third Avenue, 14th Floor
                                               New York, NY 10022
                                                  (212) 687-1980
                                                  (800) 290-1952
                                             jcampisi@kaplanfox.com
                                                www.kaplanfox.com

      You can also visit the following website, which has information specifically about the Settlement, including the
       Stipulation and Agreement of Settlement, forms, and key dates: www.ArenaPharmaceuticalsClassActionSettlement.com.
       You can obtain additional documents in person by visiting the office of the Clerk of the Court for the United States
       District Court for the Southern District of California, 333 West Broadway, Suite 420, San Diego, CA 92101, between
       8:30 a.m. and 4:30 p.m., Monday through Friday, excluding Court holidays.

                        YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:

                                    The only way to possibly receive a payment from the             Deadline:
    SUBMIT A CLAIM FORM             Settlement.                                                     April 13, 2018.
                                    You get no payment from the Settlement. This is the only
                                    option that might allow you to bring an individual lawsuit      Deadline:
    EXCLUDE YOURSELF:
                                    against the defendants asserting the legal claims being         February 12, 2018.
                                    released in this case, if you have a valid and timely claim.
                                    You may write to the Court if you do not like this
                                    Settlement, the Plan of Allocation, the Fee and Expense         Deadline:
    OBJECT:
                                    Award requested by Lead Counsel, and/or the award               March 22, 2018.
                                    requested by Lead Plaintiff.
                                                                                                    Hearing Date:
                                    You may ask to speak in Court about the fairness of the
    GO TO A HEARING:                                                                                April 12, 2018 at
                                    Settlement.
                                                                                                    10:00 a.m.
                                    You get no payment and give up your rights relating to the
    DO NOTHING:
                                    claims described in this Notice.

      These rights and options and the deadlines to exercise them are explained in this Notice.

      The Court in charge of the lawsuit must decide whether to approve the Settlement. If approved, payments will
       be made to claimants from the Settlement Fund after the Effective Date, i.e., after the Court approves the
       Settlement and enters judgment, and after all appeals and subsequent proceedings (if any) are resolved.




                                                           -2-
     Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4869 Page 11 of 50
                                                           WHAT THIS NOTICE CONTAINS
BASIC INFORMATION................................................................................................................................... Page
1.         Why did I get this Notice package? ........................................................................................................... 4
2.         What is this lawsuit about? ........................................................................................................................ 4
3.         What is a class action? ............................................................................................................................... 5
4.         Why is there a Settlement? ........................................................................................................................ 6

WHO IS INCLUDED IN THE SETTLEMENT? ........................................................................................... Page
5.         How do I know if I am a Settlement Class Member? ................................................................................ 6
6.         Are there any exceptions to being included as a Settlement Class Member? ............................................ 6
7.         I am still not sure if I’m included............................................................................................................... 7

THE SETTLEMENT BENEFITS ................................................................................................................... Page
8.         What does the Settlement provide? ............................................................................................................ 7
9.         How much will my payment be? ............................................................................................................... 7
10.        How can I get a payment? .......................................................................................................................... 8
11.        When will I receive my payment? ............................................................................................................. 8
12.        What am I giving up to get a payment or stay in the Class? ...................................................................... 8

EXCLUDING YOURSELF FROM THE SETTLEMENT ........................................................................... Page
13.        How do I exclude myself from the Settlement? ......................................................................................... 9
14.        If I don’t exclude myself, can I sue defendants for the same things later? .............................................. 10
15.        If I exclude myself, can I get money from this Settlement? .................................................................... 10

THE LAWYERS REPRESENTING YOU...................................................................................................... Page
16.        Do I have a lawyer in this case?............................................................................................................... 10
17.        How will the lawyers be paid? ................................................................................................................. 10

THE COURT’S SETTLEMENT HEARING.................................................................................................. Page
18.        When and where will the Court decide whether to approve the Settlement? .......................................... 11
19.        Do I have to come to the hearing? ........................................................................................................... 11

OBJECTING TO THE SETTLEMENT ......................................................................................................... Page
20.        How do I tell the Court that I do not like the Settlement? ....................................................................... 11
21.        What’s the difference between objecting and excluding? ........................................................................ 12

IF YOU DO NOTHING .................................................................................................................................... Page
22.        What happens if I do nothing at all? ........................................................................................................ 12

OBTAINING MORE INFORMATION .......................................................................................................... Page
23.        Are there more details about the Settlement? .......................................................................................... 12

SPECIAL NOTICE TO NOMINEES .............................................................................................................. Page
24.        Special Notice to Banks, Trustees, Brokerage Firms or Other Nominees ............................................... 13

THE PLAN OF ALLOCATION ...................................................................................................................... Page
25.        Understanding Your Payment – The Plan of Allocation ........................................................................ 13


                                                                                     -3-
  Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4870 Page 12 of 50
                                                BASIC INFORMATION

 1. Why did I get this Notice package?

You or someone in your family may have purchased Arena common stock during the Class Period.

The Court caused this Notice to be sent to you because you have a right to know about a proposed settlement of a class
action lawsuit, a hearing to be held by the Court to consider the fairness, reasonableness and adequacy of the Settlement,
and about all of your options, before the Court decides whether to approve the Settlement. If the Court approves the
Settlement, and after any objections or appeals are resolved, a claims administrator appointed by the Court will make the
payments that the Settlement allows.

This Notice explains the lawsuit, the Settlement, your legal rights, what benefits are available, who is eligible for them,
and how to get them. It is not an expression of any opinion by the Court with respect to the truth of the allegations of the
litigation or the merits of the claims or defenses asserted.

The Court in charge of the lawsuit is the United States District Court for the Southern District of California, and the case
is known as Schueneman v. Arena Pharmaceuticals, Inc., et al., Case No. 10-cv-1959-CAB-BLM. The Honorable Cathy
Ann Bencivengo is the Judge in charge of this class action (the “Court”).

 2. What is this lawsuit about?

The lawsuit is a class action that alleges violations of Section 10(b) of the Securities Exchange Act of 1934 (“Exchange
Act”) (15 U.S.C. § 78j) and Rule 10b-5 promulgated thereunder (17 C.F.R. 240), and a violation of Section 20(a) of the
Exchange Act 15 U.S.C. § 78t(a). The defendants are Arena Pharmaceuticals, Inc. (“Arena” or the “Company”); Jack
Lief, Arena’s former President, CEO and Chairman; Robert E. Hoffman, Arena’s former CFO; Dominic P. Behan,
Arena’s former Senior Vice President and Chief Scientific Officer; William R. Shanahan, Jr., Arena’s former Senior Vice
President and Chief Medical Officer; and Christen Anderson, Arena’s former Vice President of Clinical Development (the
“Defendants”). Defendants Lief, Hoffman, Behan, Shanahan and Anderson are referred to as the “Individual Defendants.”

Lead Plaintiff alleges that Defendants misled Arena investors about Arena’s development of a new drug for weight loss,
lorcaserin, by failing to disclose that a mandatory long-term animal carcinogenicity study (the “Rat Study”) suggested that
lorcaserin causes cancer in rats.

This litigation began in September 2010, and on August 8, 2011, pursuant to the Private Securities Litigation Reform Act
of 1995 (“PSLRA”), the Court consolidated seven class actions under the caption Schueneman v. Arena Pharmaceuticals,
Inc., et al. 10-cv-1959 (S.D. Cal.), appointed Carl Schwartz as Lead Plaintiff (“Lead Plaintiff” or “Plaintiff”) for the
proposed class, and approved Lead Plaintiff’s choice of the law firm Kaplan Fox & Kilsheimer LLP (“Kaplan Fox” or
“Lead Counsel”) as Lead Counsel for Lead Plaintiff and the proposed class.

On November 1, 2011, Plaintiff filed a Consolidated Amended Class Action Complaint for Violations of the Federal
Securities Laws (“FAC”). On December 20, 2011, Defendants moved to dismiss the FAC and Plaintiff opposed
Defendants’ motion to dismiss. On March 28, 2013, the Court dismissed, without prejudice, the FAC for failure to
adequately allege the scienter element of a Section 10(b) claim.

On May 13, 2013, Plaintiff filed the Second Consolidated Amended Class Action Complaint (“Complaint”). On June 14,
2013, Defendants filed a motion to dismiss the Complaint, arguing that Plaintiff failed to allege particularized facts
sufficient to show that any challenged statement was false or misleading when it was made, that Arena’s forward-looking
statements were protected by the Safe Harbor provisions of the PSLRA, and that the Complaint failed to plead specific
facts establishing a strong inference of scienter. Plaintiff opposed Defendants’ motion to dismiss, arguing that the
Complaint adequately alleged each element of the claims asserted. The Court held oral argument on Defendants’ motion
to dismiss the Complaint on October 25, 2013.

On November 4, 2013, the Court dismissed the Complaint, again finding that it “fail[ed] to meet the Ninth Circuit’s
pleading requirements for scienter” and essentially holding that the case involved a scientific dispute between Arena and

                                                           -4-
  Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4871 Page 13 of 50
the FDA regarding the safety of lorcaserin. The Court invited a proposed Third Amended Complaint (“TAC”) to give
Plaintiff the opportunity to plead facts to “show this case to be about more than a difference of scientific opinion.”
Plaintiff moved for leave to amend and submitted the TAC. On March 20, 2014, the Court denied leave to amend, finding
that amendment would be futile. Final judgment was entered against Plaintiff on March 20, 2014.

Plaintiff appealed the Court’s dismissal with prejudice of the Complaint to the United States Court of Appeals for the
Ninth Circuit (“Ninth Circuit”).

On October 26, 2016, the Ninth Circuit reversed the dismissal and remanded the matter to the district court. Schueneman
v. Arena Pharms., Inc., 840 F.3d 698 (9th Cir. 2016).

After the Ninth Circuit reversed the dismissal of the Complaint, Defendants filed a Petition for Panel Rehearing and a
suggestion for Rehearing En Banc. See Schueneman v. Arena Pharms, et al., No. 14-55633 (9th Cir.) (filed Nov. 23,
2016). On January 10, 2017, the Ninth Circuit denied Defendants’ motion for rehearing and rehearing en banc.
Schueneman v. Arena Pharms, et al., No. 14-55633 (9th Cir.).

After the Action was remanded to the district court, on February 2, 2017, Defendants filed a Renewed Motion to Dismiss
the Complaint that asserted that the Complaint failed to adequately allege falsity. On February 23, 2017, Plaintiff filed an
opposition to Defendants’ renewed motion to dismiss. On April 28, 2017, the Court denied Defendants’ motion in its
entirety.

On May 2, 2017, a Scheduling Order Regulating Discovery and Other Pre-Trial Proceedings was entered. On May 12,
2017, Defendants answered the Complaint, asserting 18 affirmative defenses.

Plaintiff served a comprehensive set of requests for production of documents (“RFPs”), and two sets of interrogatories.
On May 26, 2017, Defendants responded to Plaintiff’s RFPs and on June 7 and 19, 2017, Defendants objected to and
answered certain of Plaintiff’s interrogatories.

On May 18, 2017, Defendants served their First Set of RFPs and their First Set of Interrogatories on Plaintiff. On June
20, 2017, Plaintiff served Objections and Responses to Defendants’ First Set of RFPs and First Set of Interrogatories. On
July 14, 2017, Plaintiff produced documents in response to Defendants’ First Set of RFPs.

Since May 2017, the parties have engaged in extensive discovery, including the production or review of millions of pages
of documents, including Arena’s New Drug Application, Investigational New Drug Application, Arena’s correspondence
file with the U.S. Food and Drug Administration, minutes and materials from the Company’s board of director’s meetings,
as well as Documents and Electronically Stored Information from 16 Arena custodians. Plaintiff also served non-party
subpoenas for documents on approximately 40 non-parties who collectively produced thousands of documents.

During the Action, the parties engaged the services of retired U.S. District Judge Layn R. Phillips to assist them in
mediation. The parties engaged in a face-to-face mediation session on August 1, 2017. The parties were unable to settle
the case. Following further arms-length negotiations by telephone and in writing with the assistance of Judge Phillips,
Plaintiff and the Defendants accepted the mediator’s proposal and agreed to a settlement (the “Settlement”) of the Action.

The proposed Settlement would resolve all claims against Defendants.

 3. What is a class action?

In a class action under the federal securities laws, the Lead Plaintiff sues on behalf of numerous persons who have similar
claims. The Lead Plaintiff acts as the representative of the class of similarly situated persons. All persons with similar
claims constitute a Class, and each one is a Class Member. The Court will resolve the claims of all Settlement Class
Members, except for those who properly exclude themselves from the Settlement Class.




                                                           -5-
  Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4872 Page 14 of 50

 4. Why is there a Settlement?

The proposed Settlement is the result of arm’s-length negotiations, including a full day mediation on August 1, 2017
under the auspices of an experienced mediator. The Settlement allows Plaintiff and the Settlement Class to avoid the
possibility that one or more of their claims would be rejected by the Court or the jury, and also avoids the risks and costs
of a trial and possible appeals. Settlement Class Members who, in accordance with the Plan of Allocation, lost money
will get some compensation.

Lead Counsel has investigated and litigated the claims since September 2010. At the time the Settlement was reached,
Lead Counsel also had the benefit of a substantial amount of fact discovery provided by Defendants, as well as several
non-parties. Lead Counsel also retained experienced financial experts and experts in toxicology and preclinical or animal
studies to assist them.

If Plaintiff proceeded to trial, he faced the risk that the Defendants would prevail on the defenses they asserted and that
Plaintiff would not win on any of the claims. Even if Plaintiff had won at trial, he may not get any more money than the
$24 million that Arena has agreed to pay in the Settlement, and the Defendants would also be able to challenge the
judgment through appeals.

As a result, and based upon their factual investigation, discovery conducted to date, consultation with experts and
evaluation of the claims of the Settlement Class Members and defenses that Defendants asserted, Plaintiff and Lead
Counsel believe that the Settlement is fair, reasonable and adequate, and in the best interests of the Class. The Settlement
provides an immediate and certain recovery without incurring any additional risk. By settling, Plaintiff and the Settlement
Class avoid the cost, uncertainty, and delay of continued litigation.

The Defendants believe the Settlement is fair because it allows the Defendants to avoid the cost and distraction of
continued litigation and the risk of losing at trial or on appeal.

                                     WHO IS INCLUDED IN THE SETTLEMENT

 5. How do I know if I am a Settlement Class Member?

Everyone who fits the following description is a Settlement Class Member:

    all Persons who purchased Arena common stock between March 17, 2008 to January 27, 2011, inclusive, and
    were damaged thereby, excluding anyone named as a defendant in the Action including the Company; members
    of the immediate family of the Individual Defendants; Arena’s directors and officers; any entity in which any
    Defendant has a controlling interest; and the legal representatives, heirs, successor, and assigns of such excluded
    parties. Also excluded are those Persons who timely and validly request exclusion from the Settlement Class
    pursuant to the Notice.

 6. Are there any exceptions to being included as a Settlement Class Member?

Yes. As mentioned in the description above, you are not a Settlement Class Member if any of the following applies to
you:

       You do not meet the definition of the Class above.

       You are a Defendant, or members of the immediate family of the Individual Defendants, one of Arena’s directors
        and officers, an any entity in which any Defendant has a controlling interest, or are the legal representatives, heirs,
        successor, and assigns of such excluded parties.

       You timely and validly request exclusion from the Class pursuant to this Notice.




                                                             -6-
  Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4873 Page 15 of 50

 7. I’m still not sure whether I’m included.

If you are still not sure whether you are included, you can ask for free help. You can contact the Claims Administrator at
(877) 981-9683 or you can fill out the claim form described in question 10, to see if you qualify. You can also contact
Lead Counsel at the following address:

                                                    Jeffrey P. Campisi
                                          KAPLAN FOX & KILSHEIMER LLP
                                              850 Third Avenue; 14th Floor
                                                   New York, NY 10022
                                         Phone: (212) 687-1980 or (800) 290-1952
                                                Facsimile: (212) 687-7714
                                                 jcampisi@kaplanfox.com
                                                   www.kaplanfox.com

                                            THE SETTLEMENT BENEFITS

 8. What does the Settlement provide?

Arena will cause $12,025,000 to be paid into an escrow account that will earn interest for the benefit of the Settlement
Class, and Arena will issue common stock with a value of $11,075,000 (Arena has the option to pay all or part of the
Settlement Shares in cash at the time Arena is to issue the Settlement Shares) upon Final approval of the Settlement, for a
total value of $24 million. The balance of this fund, after payment of Court-approved attorneys’ fees and expenses, any
award to Plaintiff, taxes, and the costs of claims administration, including the costs of printing and mailing this Notice and
the cost of publishing newspaper notice, will be divided among all Settlement Class Members who submit valid claim
forms (also called Authorized Claimants). The amount of money you will receive depends on a number of factors,
including the total number of other Settlement Class Members who submit valid Proof of Claim and Release forms. This
is discussed further in the next question below.

 9. How much will my payment be?

The Settlement Amount of $24 million, plus interest earned, minus the costs and expenses described in question 8 above,
will be distributed on a pro rata basis to Authorized Claimants. If you are entitled to a payment, you will receive your pro
rata share. The amount of your share of the Settlement Fund will depend on the number of valid and timely Proof of
Claim and Release forms that Settlement Class Members send in, how many shares of Arena common stock you
purchased during the Class Period, and when you bought and sold those shares. You should look at the Plan of Allocation
section of this notice that appears on pages 13 to 18 below for a description of the calculations to be made in computing
the claims of the Authorized Claimants, that is, those investors who submit valid and timely Proof of Claim and Release
forms establishing that they are Settlement Class Members.

Depending on the number of Authorized Claimants, and the number of eligible shares purchased by Authorized Claimants
and when those shares were purchased and sold, the average distribution is estimated to be $0.13 per damaged share
before deduction of the costs and Court-approved payments described under question 8 above.

Lead Counsel, without further notice to the Settlement Class, will apply to the Court for payment of the Claims
Administrator’s fees and expenses incurred in sending this Notice, administering the Settlement and distributing the
Settlement proceeds to the Authorized Claimants. These fees and expenses will be paid from the Settlement Fund and
will reduce the amount available for distribution to Authorized Claimants. The same will be true of Court-awarded
attorneys’ fees and expenses to Lead Counsel, and any Court award to Plaintiff. Lead Counsel’s request for attorneys’ fees
and costs, and Lead Plaintiff’s award are discussed further at question 17 below.




                                                            -7-
  Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4874 Page 16 of 50

 10. How can I get a payment?

To qualify for payment, you must timely send in a Proof of Claim and Release form that is received by the Claims
Administrator. A Proof of Claim and Release form accompanies this Notice. Read the instructions carefully, fill out the
form, include all the documents the form asks for, sign it, and mail it postmarked no later than April 13, 2018. Unless the
Court orders otherwise, if you do not timely submit a Proof of Claim and Release, you will be barred from receiving any
payments from the Net Settlement Fund, but will in all other respects be bound by the Final Judgment in the case.

 11. When will I receive my payment?

The Court will hold a hearing on April 12, 2018 to decide whether to approve the Settlement. If the Court approves the
Settlement, there may be appeals. If there are any appeals, it is uncertain when these appeals will be resolved, and
resolving them can take time, typically more than a year. The Claims Administrator will also need time to process the
submitted claims before any distribution can be made to Authorized Claimants. The claims administration process is
complicated and will take many months, even when there is no delay due to an appeal. Please be patient.

 12. What am I giving up to get a payment and stay in the Settlement Class?

If you are a member of the Settlement Class, unless you exclude yourself, you will give up and release any claims you
might have against the Released Persons relating to any of the claims brought by Plaintiff, as described more fully below.
It also means that all of the Court’s orders will apply to you and legally bind you. This will be true even if you do not
submit or sign a Proof of Claim and Release form, unless you exclude yourself from the Settlement Class.

If the proposed Settlement is approved, the Court will enter a Final Judgment and Order of Dismissal with Prejudice. The
Judgment will dismiss the Released Claims with prejudice as to all Released Persons. The Judgment will provide that all
Settlement Class Members shall be deemed to have released and forever discharged all Released Claims against all
Released Persons and that the Released Persons shall be deemed to have released and discharged all Settlement Class
Members and counsel to the Plaintiff from all claims arising out of the prosecution and settlement of the Action or the
Released Claims.

“Released Persons” means each and all of the Defendants and each and all of their Related Persons.

“Related Persons” means each of the Released Persons’ and their legal affiliates’ past or present directors, officers,
employees, partners, insurers, co-insurers, reinsurers, principals, controlling shareholders, attorneys, accountants, auditors,
investment advisors, personal or legal representatives, predecessors, successors, parents, subsidiaries, divisions, joint
ventures, assigns, spouses, heirs, estates, related or affiliated entities, any entity in which a Released Person has a
controlling interest, any members of an Individual Defendant’s immediate family, any trust of which an Individual
Defendant is the settlor or which is for the benefit of an Individual Defendant and/or any member of an Individual
Defendant’s immediate family, and any entity in which a Defendant and/or any member of an Individual Defendant’s
immediate family has or have a controlling interest (directly or indirectly).

“Released Claims” means any and all claims, demands, rights, causes of action or liabilities of every nature and
description whatsoever (including, but not limited to, any claims for damages, interest, attorneys’ fees, expert or
consulting fees, and any other costs, expenses or liabilities whatsoever), whether based on federal, state, local, foreign,
statutory or common law or any other law, rule, ordinance, administrative provision or regulation, including Unknown
Claims as defined in ¶ 1.30 of the Stipulation, whether class or individual in nature, whether fixed or contingent, accrued
or unaccrued, liquidated or unliquidated, at law or in equity, matured or unmatured, concealed or hidden, suspected or
unsuspected, which now exist or heretofore have existed, that were asserted or could have been asserted by Lead Plaintiff
or any Settlement Class Member against the Released Persons based on, arising from or relating to both: (i) the purchase,
acquisition, holding, disposition, or sale of Arena common stock during the Class Period; and (ii) the allegations,
transactions, facts, matters, events, disclosures, registration statements, public filings, acts, occurrences, representations,
statements, omissions or failures to act that occurred during the Class Period and that were or could have been alleged by
Lead Plaintiff in the Action against the Released Persons based upon the facts alleged in the Complaint. Released Claims
does not include claims to enforce the Settlement.

                                                             -8-
  Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4875 Page 17 of 50
“Unknown Claims” means collectively any Released Claims which Lead Plaintiff or any Settlement Class Member do not
know or suspect to exist in his, her or its favor at the time of the release of the Released Persons which, if known by him,
her or it, might have affected his, her or its settlement with and release of the Released Persons, or might have affected
his, her or its decision not to object to this Settlement or seek exclusion from the Settlement Class. With respect to any
and all Released Claims, the Settling Parties stipulate and agree that, upon the Effective Date, Lead Plaintiff shall
expressly waive and each of the Class Members shall be deemed to have, and by operation of the Judgment shall have,
expressly waived the provisions, rights, and benefits of California Civil Code §1542, which provides:

    A general release does not extend to claims which the creditor does not know or suspect to exist in his or her
    favor at the time of executing the release, which if known by him or her must have materially affected his or her
    settlement with the debtor.

Lead Plaintiff shall expressly waive and each of the Settlement Class Members shall be deemed to have, and by operation
of the Judgment shall have, expressly waived any and all provisions, rights, and benefits conferred by any law of any state
or territory of the United States or any foreign country, or any principle of common law, which is similar, comparable or
equivalent in substance to California Civil Code §1542. Lead Plaintiff and Settlement Class Members may hereafter
discover facts in addition to or different from those which he, she or it now knows or believes to be true with respect to
the subject matter of the Released Claims, but upon the Effective Date, each Settlement Class Member, and Lead Plaintiff
expressly, shall be deemed to have, and by operation of the Judgment shall have, fully, finally, and forever settled and
released any and all Released Claims, known or unknown, suspected or unsuspected, contingent or non-contingent,
whether or not concealed or hidden, which now exist, or heretofore have existed, upon any theory of law or equity now
existing or coming into existence in the future, including, but not limited to, conduct which is negligent, intentional, with
or without malice, or a breach of any duty, law or rule, without regard to the subsequent discovery or existence of such
different or additional facts. Lead Plaintiff acknowledges, and the Settlement Class Members shall be deemed by
operation of the Judgment to have acknowledged, that the foregoing waiver was separately bargained for and a material
element of the Settlement of which this release is a part.

                               EXCLUDING YOURSELF FROM THE SETTLEMENT
If you do not want to be bound by the Judgment or recover money from the Settlement Fund, and instead want to keep
any claims you may have and any right you may have to sue Defendants on your own about the legal issues in this case,
then you must take steps to get out. This is called excluding yourself from – or opting out of – the Settlement Class.

Please note that there is a separate confidential supplemental agreement between Plaintiff and Arena (the “Side Letter”).
If, as specified in the Side Letter, the number of shares of Arena common stock purchased during the Class Period by
Settlement Class Members, but who request exclusion from the Settlement Class, exceeds the threshold(s) specified in the
Side Letter, Arena will have the option to terminate this Settlement in accordance with the procedures set forth in the Side
Letter.

 13. How do I exclude myself from the Settlement?

If you do not wish to be included in the Settlement Class and you do not wish to participate in the proposed Settlement
described in this Notice, you may request to be excluded. To do so, you must submit a written request for exclusion that
must be received on or before February 12, 2018 and must: (a) state the name, address, and telephone number of the
Person(s) requesting exclusion; (b) identify the Person’s purchases (or acquisitions) and sales of Arena common stock
made during the Class Period, including the dates of purchase, acquisition or sale, prices paid or received, and the number
of shares of common stock purchased and/or sold; (c) include the Person’s signature; and (d) state that the Person wishes
to be excluded from the Settlement Class. No request will be considered valid unless all of the information described
above is included in the request. The request must be addressed as follows:

                                                Arena Securities Litigation
                                                        c/o GCG
                                                    P.O. Box 10526
                                                Dublin, Ohio 43017-0526

You cannot exclude yourself by phone or by e-mail.

                                                            -9-
     Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4876 Page 18 of 50
   If you ask to be excluded from the Settlement Class, you will not get any settlement payment. If you exclude
   yourself, you will not be legally bound by anything that happens in this lawsuit. You might be able to sue (or continue to
   sue) Arena and the other Defendants in the future about the claims in this lawsuit, but your claims may not be timely,
   valid, or you may not prevail on the merits.

14. 14. If I don’t exclude myself, can I sue Defendants for the same things later?

   NO. Unless you exclude yourself, you give up any right to sue Defendants about the claims that this Settlement resolves.
   If you have a pending lawsuit, speak to your lawyer in that case immediately. You must exclude yourself from this
   Settlement Class to continue or file any lawsuit alleging the same claims as are alleged herein. Remember, the exclusion
   deadline is February 12, 2018. See also Question No. 12: “What am I giving up to get a payment or stay in the Settlement
   Class?”

    15. If I exclude myself, can I get money from this Settlement?

   NO. If you exclude yourself, you will not be entitled to receive any money from the Settlement Fund. If you exclude
   yourself, do not send in a Proof of Claim and Release form to ask for any money.

                                           THE LAWYERS REPRESENTING YOU

    16. Do I have a lawyer in this case?

   The Court appointed Kaplan Fox to represent Plaintiff and the Settlement Class Members. This law firm is called Lead
   Counsel. You will not be individually charged for these lawyers. If you want to be represented by your own lawyer, you
   may hire one at your own expense.

   You can send any questions to Lead Counsel (contact information is set forth on page 2) or to the Claims Administrator
   at:

                                               Arena Securities Litigation
                                                       c/o GCG
                                                   P.O. Box 10526
                                               Dublin, Ohio 43017-0526
                                                    (877) 981-9683
                                    www.ArenaPharmaceuticalsClassActionSettlement.com

    17. How will the lawyers be paid?

   Lead Counsel will apply to the Court for attorneys’ fees not to exceed 30% of the Settlement Amount and for
   reimbursement of their out-of-pocket expenses not to exceed $350,000.00. In addition, Plaintiff may seek reimbursement
   in an amount not to exceed $25,000.00 for reasonable costs and expenses (including lost wages) in connection with his
   representation of the Settlement Class in accordance with 15 U.S.C. § 78u-4(a)(4). These payments, if approved, will
   reduce the amount to be divided among all Authorized Claimants by approximately $0.04 per damaged share. Such sums
   as may be approved by the Court will be paid from the Settlement Fund. Settlement Class Members are not personally
   liable for any such fees or expenses.

   The attorneys’ fees and expenses requested will be the only payment to Lead Counsel for their efforts in achieving this
   Settlement and for their risk in undertaking this representation on a wholly contingent basis. To date, Lead Counsel have
   not been paid anything for their services for conducting this litigation on behalf of the Plaintiff and the Settlement Class
   nor for their substantial out-of-pocket expenses. The Court may, however, award less than this amount in its discretion.




                                                             - 10 -
     Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4877 Page 19 of 50
                                        THE COURT’S SETTLEMENT HEARING

18 18. When and where will the Court decide whether to approve the Settlement?

  The Court will hold a hearing at 10:00 a.m. on April 12, 2018 before the Honorable Cathy Ann Bencivengo, United States
  District Judge, at the United States District Court for the Southern District of California, United States Courthouse –
  Courtroom 4C, 221 West Broadway, San Diego, CA 92101, (the “Final Settlement Approval Hearing”). At this hearing
  the Court will consider whether the Settlement, the Plan of Allocation, Lead Counsel’s Fee and Expense Application, and
  Plaintiff’s application for an award are fair, reasonable, and adequate. If there are objections, the Court will hear them.
  Any Settlement Class Member who has not previously submitted a request for exclusion from the Settlement Class may
  appear and be heard, to the extent allowed by the Court, to state any objections.

  The Court may reschedule the Settlement Hearing at any time, so if you plan to attend or participate, you should check
  with the Clerk of the Court to know whether there have been any changes of the place, date and time for the hearing.


    19. Do I have to come to the Settlement Hearing?

  NO. Lead Counsel will answer questions the Judge may have. But you are welcome to come at your own expense, and
  the Court will give you the opportunity to be heard. If you send a written objection, the Court will consider it. You don’t
  have to come to Court to talk about it. You may also pay your own lawyer to attend, but it is not necessary. Information
  about sending a written objection is provided below.

  If you or your representative intend to appear in person at the Final Settlement Approval Hearing but have not submitted a
  written objection postmarked by March 22, 2018 (as described in Section 20 below), it is recommended that you give
  advance notice to Lead Counsel and/or counsel for Defendants of your intention to attend the hearing in order to object
  and the basis for your objection. You may contact them at the addresses provided in Section 9.14 of the Stipulation and
  Agreement of Settlement.

                                           OBJECTING TO THE SETTLEMENT

    20. How do I tell the Court that I do not like the Settlement?

  If you are a Settlement Class Member and do not exclude yourself, you can object to the Settlement at the Final
  Settlement Approval Hearing if you do not like any part of it, including the terms and conditions of the Settlement, the
  Judgment to be entered approving the Settlement, the Plan of Allocation, the attorneys’ fees and expenses to be awarded
  to Lead Counsel, or the award to Plaintiff. Please note, however, that the Court can only approve or deny the Settlement;
  it cannot change the terms of the Settlement.

  You can object in one of two ways: either (1) file a written objection with the Court, or (2) attend the Final Settlement
  Approval Hearing to object in person as described in Sections 18 and 19 above. You do not have to do both. If you do
  not either file a written objection on time, or attend the Final Settlement Approval Hearing to tell the Court about your
  objections, you cannot object to the Settlement later. Any objections you might have will be waived.

  All written objections must be postmarked no later than March 22, 2018, to the Court at the address listed below. The
  written objection is a statement saying that you object to the Settlement in Schueneman v. Arena Pharmaceuticals, Inc., et
  al., 10-cv-1959-CAB (BLM). The objection should include: (a) the full name, address and telephone number of the
  objecting Settlement Class Member, (b) the number of shares of Arena common stock the Settlement Class Member
  purchased from March 17, 2008 through January 27, 2011; (c) documentation evidencing your purchases of Arena
  common stock during this time period such as account statements, brokerage confirmations, or other similar
  documentation; (d) the reasons for the objection; (e) copies of any papers and briefs upon which your objections are
  based; and (f) your signature, even if represented by counsel. The objection should also advise the Court if the objecting
  Settlement Class Member intends to appear at the Settlement Hearing, and if the objecting Settlement Class Member
  intends to appear at the Settlement Hearing through an attorney, the objection should also state the identity of all attorneys
  who will appear at the Final Settlement Approval Hearing.


                                                             - 11 -
  Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4878 Page 20 of 50
Please send your objections to the Settlement to:

                                                   Clerk of the Court
                                               United States District Court
                                              Southern District of California
                                              333 West Broadway, Suite 420
                                                  San Diego, CA 92101

You may also file your objection in person at the United States District Court for the Southern District of California at the
address above.

You do not need to go to the Final Settlement Approval Hearing to have your written objection considered by the Court.
However, if you intend to appear at the Final Settlement Approval Hearing through an attorney, you will be responsible
for paying for your attorney’s costs and expenses.

 21. What’s the difference between objecting and excluding?

Objecting is simply telling the Court that you don’t like something about the Settlement, the Plan of Allocation, or the Fee
and Expense Application, or award to Plaintiff. Excluding yourself is telling the Court that you don’t want to be part of
the Settlement Class. If you exclude yourself, you have no basis to object because the Settlement no longer affects you.

If the Court approves the Settlement despite your objections, you are still bound by the Settlement.

                                                 IF YOU DO NOTHING

 22. What happens if I do nothing at all?

If you do nothing, you will not receive any money from this Settlement, but the judgment of the Court will still be
binding upon you. You must file a Proof of Claim and Release form to be eligible to receive anything from the
Settlement. Also, unless you exclude yourself, you will be bound by the judgment and will have released the Released
Claims against the Released Persons even if you do not file a Proof of Claim and Release. This means you will not be
able to start a lawsuit, continue with a lawsuit, or be part of any other lawsuit against the Defendants relating to the
Released Claims.

                                        OBTAINING MORE INFORMATION

 23. Are there more details about the Settlement?

This Notice summarizes the most important aspects of the proposed Settlement, but it is not a complete description of the
Settlement. You can get a copy of the Stipulation and Agreement of Settlement by writing to Lead Counsel at the address
stated on page 2 above.

You can also call the Claims Administrator at (877) 981-9683, or contact it by mail or through its website at the address
listed below in item no. 24 to find answers to common questions about the Settlement and obtain information about the
status of the Settlement approval process.

You can also review a copy of the entire Stipulation and Agreement of Settlement and other documents filed in the Action
during normal business hours at the office of the Clerk of the Court, United States District Court, Southern District of
California, 333 West Broadway, Suite 420, San Diego, CA 92101 (refer to Case No. 10-cv-1959).


      PLEASE DO NOT CALL THE COURT OR THE CLERK’S OFFICE ABOUT THIS SETTLEMENT.




                                                           - 12 -
  Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4879 Page 21 of 50
                                         SPECIAL NOTICE TO NOMINEES

 24. Special Notice to Banks, Trustees, Brokerage Firms or Other Nominees

Nominees who purchased the common stock of Arena for the beneficial interest of other Persons during the Class Period
shall, within ten (10) calendar days after receipt of this Notice: (1) provide the Claims Administrator with the names and
addresses of such beneficial owners; or (2) forward a copy of this Notice and the Proof of Claim and Release by First-
Class Mail to each such beneficial owner and, provide the Claim Administrator and Lead Counsel with written
confirmation that the Notice and Proof of Claim and Release have been so forwarded. Upon submission of appropriate
documentation to the Claims Administrator, reimbursement of your reasonable costs and expenses of complying with this
provision will be paid from the Settlement Fund in accordance with the provisions of the Stipulation, subject to further
order of the Court with respect to any dispute concerning such expenses. Additional copies of this Notice may be
obtained from the Claims Administrator by writing to:

                                            Arena Securities Litigation
                                                    c/o GCG
                                                P.O. Box 10526
                                            Dublin, Ohio 43017-0526
                                                 (877) 981-9683
                                 www.ArenaPharmaceuticalsClassActionSettlement.com


 25. Understanding Your Payment - The Plan of Allocation

        Please note that the approval of the Settlement is separate from and not conditioned on the Court’s approval of the
Plan of Allocation.

        The Settlement Fund will be used to pay the Class Notice and Administration Expenses, the Taxes and Tax
Expenses, the Fee and Expense Award to Lead Counsel (as approved by the Court), and any award to Plaintiff (as
approved by the Court). The balance (the “Net Settlement Fund”) shall be distributed to Settlement Class Members who
submit valid and timely Proof of Claim and Release forms.

         The following proposed Plan of Allocation reflects the contention of the Settlement Class that because of
Defendants’ alleged misstatements, the price of Arena common stock was inflated artificially during the Class Period, and
that the stock price decreases on September 14, 15 and 17, 2010, and January 28, 2011 resulted from disclosures of facts
revealing Defendants’ alleged prior misstatements and omissions.

        The Court has not made any finding that the Defendants are liable to the Settlement Class or that the Settlement
Class has suffered any compensable damages, nor has the Court made any finding as to the measure of damages.


PROPOSED PLAN OF ALLOCATION OF THE NET SETTLEMENT FUND AMONG SETTLEMENT CLASS
                                   MEMBERS

         The objective of this Plan of Allocation is to equitably distribute the Net Settlement Fund among Authorized
Claimants based on their respective alleged economic losses as a result of the alleged fraud, as opposed to losses caused
by market- or industry-wide factors, or Company-specific factors unrelated to the alleged fraud. The Claims
Administrator shall determine each Authorized Claimant’s share of the Net Settlement Fund based upon the recognized
loss formula (the “Recognized Loss”) described below. A Recognized Loss will be calculated for each share of Arena
common stock purchased during the Class Period. The calculation of Recognized Loss will depend upon several factors,
including when Arena common stock was purchased during the Class Period, and in what amounts, and whether such
shares were sold, and if sold, when they were sold, and for what amounts. The Recognized Loss is not intended to
estimate the amount a Settlement Class Member might have been able to recover after a trial, nor to estimate the amount
that will be paid to Authorized Claimants pursuant to the Settlement. The Recognized Loss is the basis upon which the
Net Settlement Fund will be proportionately allocated to the Authorized Claimants. The Claims Administrator will use its


                                                          - 13 -
     Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4880 Page 22 of 50
best efforts to administer and distribute the Net Settlement Fund to the extent that it is equitably and economically
feasible.

        The Plan of Allocation was created with the assistance of a consulting damages expert, and reflects the
assumption that the price of Arena common stock was artificially inflated from March 17, 2008 through September 16,
2010, and from December 22, 2010 through January 27, 2011. The calculations made pursuant to the Plan of Allocation
are generally based upon the measure of damages set forth in Section 10(b) of the Exchange and Rule 10b-5 promulgated
thereunder by the Securities and Exchange Commission.

        The estimated alleged artificial inflation in the price of Arena common stock is based on certain
misrepresentations alleged by Plaintiff and the stock price reaction to the public announcements that allegedly corrected
the misrepresentations alleged by Plaintiff, net of market and industry effects, as well as Company-specific disclosures
unrelated to the alleged fraud.

        Federal securities laws allow investors to recover for losses caused by disclosures which corrected Defendants’
previous alleged misleading statements or omissions. Thus, in order to have been damaged by the alleged violations of
the federal securities laws, Arena common stock purchased must have been held during a period of time in which its price
declined due to the disclosure of information which corrected an allegedly misleading statement or omission. Plaintiff
and Lead Counsel have determined that such price declines occurred on September 14, 15 and 17, 2010, and January 28,
2011 (the “Corrective Disclosures”).

         The “90-day look back” provision of the PSLRA is incorporated into the calculation of the Recognized Loss for
Arena common stock. The limitations on the calculation of the Recognized Loss imposed by the PSLRA are applied such
that losses on Arena common stock purchased from March 17, 2008 through September 16, 2010, and held as of the close
of the 90-day period subsequent to the September 17, 2010 Corrective Disclosure, or purchased from December 22, 2010
through January 27, 2011 and held as of the close of the 90-day period subsequent to the January 28, 2011 Corrective
Disclosure (the “90-Day Lookback Periods”) cannot exceed the difference between the purchase price paid for such stock
and the average price of Arena common stock during the applicable 90-Day Lookback Period. The Recognized Loss on
Arena common stock purchased from March 17, 2008 through September 16, 2010 or from December 22, 2010 through
January 27, 2011, and sold during the applicable 90-Day Lookback Period cannot exceed the difference between the
purchase price paid for such stock and the rolling average price of Arena common stock during the portion of the
applicable 90-Day Lookback Period elapsed as of the date of sale.

          Calculation of Recognized Loss Per Share of Arena Common Stock

         For each share of Arena common stock purchased during the Class Period, the Recognized Loss per share shall be
calculated as described in what follows. In the calculations below, all purchase and sale prices shall exclude any fees,
taxes and commissions. If a Recognized Loss amount is calculated to be a negative number, that Recognized Loss shall
be set to zero.

1.        For shares of Arena common stock purchased from March 17, 2008 through September 16, 2010:
     A.       For shares sold from March 17, 2008 through September 13, 2010, the Recognized Loss shall be zero.
     B.       For shares sold from September 14 through 16, 2010, the Recognized Loss shall be that number of shares
              multiplied by the lesser of:
              (1)       the applicable purchase date artificial inflation per share figure less the applicable sales date artificial
                        inflation per share figure, as found in Table A; or
              (2)       the Out of Pocket Loss.2

     C.       For shares sold from September 17, 2010 through December 15, 20103, the Recognized Loss shall be that
              number of shares multiplied by the lesser of:

2
 “Out of Pocket Loss” means the purchase/acquisition price of each such share (excluding all fees, taxes and commissions) less the sale/disposition
price of each such share (excluding all fees, taxes and commissions).

3
  Section 21(D)(e)(2) of the PSLRA provides that “in any private action arising under this title in which the plaintiff seeks to establish damages by
reference to the market price of a security, if the plaintiff sells or repurchases the subject security prior to the expiration of the 90-day period

                                                                      - 14 -
    Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4881 Page 23 of 50
               (1)       the applicable purchase date artificial inflation per share figure, as found in Table A; or
               (2)       the purchase price of each such share (excluding all fees, taxes and commissions) less the average
                         closing price from September 17, 2010 and the date of sale, as found in Table B; or
               (3)       the Out of Pocket Loss.

     D.        For shares held at the end of trading on December 15, 2010, the Recognized Loss shall be that number of
               shares multiplied by the lesser of:
               (1)       the applicable purchase date artificial inflation per share figure, as found in Table A;
               (2)       the difference between the purchase/acquisition price of each such share excluding all fees, taxes and
                         commissions) and $1.564; or
               (3)       Out of Pocket Loss.

2. For shares of common stock purchased from September 17, 2010 through December 21, 2010.

     Purchasers of Arena common stock from September 17, 2010 through December 21, 2010 purchased Arena common
     stock during a period when Arena common stock was not alleged to have been inflated as a result of any of
     Defendants’ alleged misrepresentations. As a result, for shares purchased from September 17 through December 21,
     2010, the Recognized Loss shall be zero.

3. For shares of common stock purchased from December 22, 2010 through January 27, 2011.
     A.        For shares sold from December 22, 2010 through January 27, 2011, the Recognized Loss shall be zero.
     B.        For shares sold from January 28, 2011 through April 27, 20113, the Recognized Loss shall be that number of
               shares multiplied by the lesser of:
               (1) $0.32 per share;
               (2) the purchase/acquisition price of each such share (excluding all fees, taxes and commissions) less the
                   average closing price from January 28, 2011 and the date of sale, as found in Table B; or
               (3) the Out of Pocket Loss.
     C.        For shares held as of the close of trading on April 27, 2011, the Recognized Loss shall be that number of
               shares multiplied by the lesser of:
               (1) $0.32 per share;
               (2) the difference between purchase/acquisition price of each such share (excluding all fees, taxes and
                   commissions) and $1.494; or
               (3) the Out of Pocket Loss.




described in paragraph (1), the plaintiff’s damages shall not exceed the difference between the purchase or sale price paid or received, as appropriate,
by the plaintiff for the security and the mean trading price of the security during the period beginning immediately after dissemination of information
correcting the misstatement or omission and ending on the date on which the plaintiff sells or repurchases the security.”

4
  Section 21(D)(e)(1) of the PSLRA provides that “in any private action arising under this title in which the plaintiff seeks to establish damages by
reference to the market price of a security, the award of damages to the plaintiff shall not exceed the difference between the purchase or sale price
paid or received, as appropriate, by the plaintiff for the subject security and the mean trading price of that security during the 90-day period beginning
on the date on which the information correcting the misstatement or omission that is the basis for the action is disseminated.” The mean (average)
closing price of Arena common stock during the 90-day period beginning on September 17, 2010 and ending on December 15, 2010 was $1.56 per
share. The mean (average) closing price of Arena common stock during the 90-day period beginning on January 28, 2011 and ending on April 27,
2011 was $1.49 per share.




                                                                         - 15 -
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4882 Page 24 of 50
     Table A
Purchase or Sale Date Range             Artificial Inflation Per Share
  03/17/2008 - 09/13/2010                            $4.85
        09/14/2010                                   $2.15
 09/15/2010 – 09/16/2010                             $1.74


     Table B
               Average                          Average                       Average                      Average
             Closing Price                    Closing Price                 Closing Price                Closing Price
               Between                          Between                       Between                      Between
              9/17/2010                        9/17/2010                     1/28/2011                    1/28/2011
   Date        and Date          Date           and Date           Date       and Date         Date        and Date
09/17/2010      $1.99         11/02/2010         $1.66         01/28/2011      $1.63        03/15/2011      $1.61
09/20/2010      $1.93         11/03/2010         $1.65         01/31/2011      $1.61        03/16/2011      $1.60
09/21/2010      $1.88         11/04/2010         $1.65         02/01/2011      $1.63        03/17/2011      $1.60
09/22/2010      $1.81         11/05/2010         $1.65         02/02/2011      $1.63        03/18/2011      $1.59
09/23/2010      $1.79         11/08/2010         $1.64         02/03/2011      $1.63        03/21/2011      $1.59
09/24/2010      $1.76         11/09/2010         $1.64         02/04/2011      $1.63        03/22/2011      $1.59
09/27/2010      $1.73         11/10/2010         $1.63         02/07/2011      $1.64        03/23/2011      $1.58
09/28/2010      $1.71         11/11/2010         $1.63         02/08/2011      $1.64        03/24/2011      $1.58
09/29/2010      $1.70         11/12/2010         $1.63         02/09/2011      $1.65        03/25/2011      $1.57
09/30/2010      $1.69         11/15/2010         $1.62         02/10/2011      $1.65        03/28/2011      $1.57
10/01/2010      $1.67         11/16/2010         $1.62         02/11/2011      $1.65        03/29/2011      $1.57
10/04/2010      $1.67         11/17/2010         $1.61         02/14/2011      $1.65        03/30/2011      $1.57
10/05/2010      $1.68         11/18/2010         $1.60         02/15/2011      $1.65        03/31/2011      $1.56
10/06/2010      $1.68         11/19/2010         $1.60         02/16/2011      $1.65        04/01/2011      $1.56
10/07/2010      $1.67         11/22/2010         $1.59         02/17/2011      $1.65        04/04/2011      $1.55
10/08/2010      $1.67         11/23/2010         $1.59         02/18/2011      $1.65        04/05/2011      $1.55
10/11/2010      $1.68         11/24/2010         $1.58         02/22/2011      $1.65        04/06/2011      $1.54
10/12/2010      $1.69         11/26/2010         $1.58         02/23/2011      $1.64        04/07/2011      $1.54
10/13/2010      $1.69         11/29/2010         $1.58         02/24/2011      $1.64        04/08/2011      $1.54
10/14/2010      $1.70         11/30/2010         $1.57         02/25/2011      $1.64        04/11/2011      $1.53
10/15/2010      $1.70         12/01/2010         $1.57         02/28/2011      $1.64        04/12/2011      $1.53
10/18/2010      $1.70         12/02/2010         $1.57         03/01/2011      $1.64        04/13/2011      $1.52
10/19/2010      $1.69         12/03/2010         $1.56         03/02/2011      $1.64        04/14/2011      $1.52
10/20/2010      $1.69         12/06/2010         $1.56         03/03/2011      $1.64        04/15/2011      $1.52
10/21/2010      $1.68         12/07/2010         $1.56         03/04/2011      $1.63        04/18/2011      $1.51
10/22/2010      $1.68         12/08/2010         $1.56         03/07/2011      $1.63        04/19/2011      $1.51
10/25/2010      $1.68         12/09/2010         $1.56         03/08/2011      $1.62        04/20/2011      $1.50
10/26/2010      $1.67         12/10/2010         $1.56         03/09/2011      $1.62        04/21/2011      $1.50
10/27/2010      $1.67         12/13/2010         $1.56         03/10/2011      $1.62        04/25/2011      $1.49
10/28/2010      $1.67         12/14/2010         $1.56         03/11/2011      $1.61        04/26/2011      $1.49
10/29/2010      $1.66         12/15/2010         $1.56         03/14/2011      $1.61        04/27/2011      $1.49
11/01/2010      $1.66




                                                         - 16 -
    Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4883 Page 25 of 50
                                    INSTRUCTIONS APPLICABLE TO ALL CLAIMANTS
       The payment you receive will reflect your proportionate share of the Net Settlement Fund. Such payment will
depend on the number of eligible common shares of Arena that participate in the Settlement, and when those shares were
purchased and sold. The number of claimants who send in claims varies widely from case to case.

         The date of purchase or sale is the “contract” or “trade” date as distinguished from the “settlement” date.

         Acquisition by Gift, Inheritance, or Operation of Law: If a Settlement Class Member acquired Arena common
stock during the Class Period by way of gift, inheritance or operation of law, such a claim will be computed by using the
date and price of the original purchase and not the date and price of transfer. To the extent that Arena common stock was
originally purchased prior to commencement of the Class Period, the Recognized Loss for that acquisition shall be
deemed to be zero.

         Notwithstanding any of the above, receipt of Arena common stock during the Class Period in exchange for
securities of any other corporation or entity shall not be deemed a purchase or sale of Arena common stock.

        For Class Members who made multiple purchases or sales during the Class Period, the First-In, First-Out
(“FIFO”) method will be applied to such holdings, purchases, and sales for purposes of calculating a claim. Under the
FIFO method, sales of Arena common stock during the Class Period will be matched, in chronological order, first against
shares of common stock held at the beginning of the Class Period. The remaining sales of common stock during the Class
Period will then be matched, in chronological order, against common stock purchased during the Class Period.

        The date of covering a “short sale” is deemed to be the date of purchase of shares. The date of a “short sale” is
deemed to be the date of sale of shares. In accordance with the Plan of Allocation, however, the Recognized Loss on
“short sales” is zero. In the event that a claimant has an opening short position in Arena common stock, the earliest Class
Period purchases shall be matched against such opening short position and not be entitled to a recovery until that short
position is fully covered.

         With respect to Arena common stock purchased or sold through the exercise of an option, the purchase/sale date
of the stock shall be the exercise date of the option and the purchase/sale price of the stock shall be the closing price of
Arena common stock on the date of exercise of the option. Any Recognized Loss arising from purchases of Arena
common stock acquired during the Class Period through the exercise of an option on Arena common stock 5 shall be
computed as provided for other purchases of Arena common stock in the Plan of Allocation.

       A Claimant’s “Recognized Claim” under the Plan of Allocation shall be the sum of his, her or its Recognized
Loss amounts.

        The Net Settlement Fund will be distributed to Authorized Claimants on a pro rata basis based on the relative size
of their respective Recognized Claim. Specifically, a “Distribution Amount” will be calculated for each Authorized
Claimant, which shall be the Authorized Claimant’s Recognized Claim divided by the total Recognized Claims of all
Authorized Claimants, multiplied by the total amount in the Net Settlement Fund. If any Authorized Claimant’s
Distribution Amount calculates to less than $10.00, it will not be included in the calculation and no distribution will be
made to such Authorized Claimant.

        To the extent a Claimant had a market gain with respect to his, her, or its overall transactions in Arena common
stock during the Class Period, the value of the Claimant’s Recognized Claim shall be zero. Such Claimants shall in any
event be bound by the Settlement. To the extent that a Claimant suffered an overall market loss with respect to his, her, or
its overall transactions in Arena common stock during the Class Period, but that market loss was less than the total
Recognized Claim calculated above, then the Claimant’s Recognized Claim shall be limited to the amount of the actual
market loss.

         For purposes of determining whether a Claimant had a market gain with respect to his, her, or its overall
transactions in Arena common stock during the Class Period or suffered a market loss, the Claims Administrator shall

5
 Including (1) purchases of Arena common stock as the result of the exercise of a call option, and (2) purchases of Arena common stock by the seller
of a put option as a result of the buyer of such put option exercising that put option.

                                                                      - 17 -
    Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4884 Page 26 of 50
determine the difference between (i) the Total Purchase Amount6 and (ii) the sum of the Total Sales Proceeds7 and
Holding Value.8 This difference shall be deemed a Claimant’s market gain or loss with respect to his, her, or its overall
transactions in Arena common stock during the Class Period.

        Please contact the Claims Administrator or Lead Counsel if you disagree with any determinations made by the
Claims Administrator regarding your Proof of Claim. The Court has reserved jurisdiction to allow, disallow, or adjust the
claim of any Class Member on equitable grounds.

        Payment pursuant to the Plan of Allocation set forth above shall be conclusive against all Authorized Claimants.
Defendants, their respective counsel, and all other Released Persons will have no responsibility or liability whatsoever for
the investment of the Settlement Fund, the distribution of the Net Settlement Fund, the Plan of Allocation or the payment
of any claim. No Person shall have any claim against Plaintiff, Plaintiffs’ Counsel, any claims administrator, or other
Person designated by Plaintiff’s counsel, or Defendants or Defendants’ counsel based on distributions made substantially
in accordance with the Stipulation and the Settlement contained therein, the Plan of Allocation, or further orders of the
Court.

        All Settlement Class Members who fail to complete and file a valid and timely Proof of Claim and Release shall
be barred from participating in distributions from the Net Settlement Fund (unless otherwise ordered by the Court), but
otherwise shall be bound by all of the terms of the Stipulation, including the terms of any judgment entered and the
releases given.

         Distributions will be made to Authorized Claimants after all claims have been processed and after the Court has
finally approved the Settlement. If any funds remain in the Net Settlement Fund by reason of uncashed distribution
checks or otherwise, then, after the Claims Administrator has made reasonable and diligent efforts to have Class members
who are entitled to participate in the distribution of the Net Settlement Fund cash their distributions, any balance
remaining in the Net Settlement Fund after a reasonable time after the initial distribution, will be used in the following
fashion: (a) first, to pay any amounts mistakenly omitted from the initial disbursement; (b) second, to pay any additional
settlement administration fees, costs, and expenses, including those of Lead Counsel as may be approved by the Court;
and (c) finally, to make a second distribution to claimants who cashed their checks from the initial distribution and who
would receive at least $10.00, after payment of the estimated costs, expenses, or fees to be incurred in administering the
Net Settlement Fund and in making this second distribution, if such second distribution is economically feasible. These
redistributions shall be repeated, if economically feasible, until the balance remaining in the Net Settlement Fund is de
minimis and such remaining balance will then be donated to the Legal Aid Society of San Diego, Inc.

                            DO NOT TELEPHONE THE COURT REGARDING THIS NOTICE


DATED: November 30, 2017                                 BY ORDER OF THE COURT
                                                         UNITED STATES DISTRICT COURT
                                                         SOUTHERN DISTRICT OF CALIFORNIA




6
 The “Total Purchase Amount” is the total amount the Claimant paid (excluding commissions and other charges) for all Arena common stock
purchased during the Class Period.

7
 The Claims Administrator shall match any sales of Arena common stock during the Settlement Class Period, first against the Claimant’s opening
position in Arena common stock (the proceeds of those sales will not be considered for purposes of calculating market gains or losses). The total
amount received (excluding commissions and other charges) for the remaining sales of Arena common stock sold during the Class Period shall be the
“Total Sales Proceeds.”

8
  The Claims Administrator shall ascribe a Holding Value of $1.56 per share for Arena common stock purchased between March 17, 2008 and
September 16, 2010 and still held as of the close of trading on December 15, 2010, and shall ascribe a Holding Value of $1.49 per share for Arena
common stock purchased between December 22, 2010 and January 27, 2011 and still held as of the close of trading on April 27, 2011.


                                                                    - 18 -
  Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4885 Page 27 of 50
            Must be
          Postmarked                                                                                                                      SAP
                                                                                    *P-SAP-POC/1*
         No Later Than
                                              Arena Securities Litigation
         April 13, 2018
                                                       c/o GCG
                                                    P.O. Box 10526
                                                Dublin, OH 43017-0526
                                               Toll-Free: (877) 981-9683
                       Settlement Website: www.ArenaPharmaceuticalsClassActionSettlement.com




                                                                                        Claim Number:

                                                                                        Control Number:




                                             Schueneman v. Arena Pharmaceuticals, Inc.
                                           PROOF OF CLAIM AND RELEASE
 IF YOU PURCHASED COMMON STOCK OF ARENA PHARMACEUTICALS, INC. (“ARENA”) FROM MARCH 17,
 2008 THROUGH JANUARY 27, 2011, INCLUSIVE, AND SUFFERED LOSSES AS A RESULT OF SUCH PURCHASE,
 YOU ARE A “SETTLEMENT CLASS MEMBER” AND YOU MAY BE ENTITLED TO SHARE IN THE SETTLEMENT
 PROCEEDS.
 IF YOU ARE A SETTLEMENT CLASS MEMBER, YOU MUST COMPLETE AND SUBMIT THIS FORM IN ORDER TO
 BE ELIGIBLE FOR ANY SETTLEMENT BENEFITS.
 TO BE ELIGIBLE TO RECEIVE A DISTRIBUTION IN THE SETTLEMENT, YOU MUST COMPLETE AND SIGN THIS
 PROOF OF CLAIM AND RELEASE (“PROOF OF CLAIM”) AND MAIL IT BY FIRST CLASS MAIL, POSTAGE PREPAID,
 POSTMARKED NO LATER THAN APRIL 13, 2018, TO THE CLAIMS ADMINISTRATOR, AT THE ADDRESS SET
 FORTH ABOVE.
 YOUR FAILURE TO TIMELY SUBMIT A COMPLETED PROOF OF CLAIM WILL SUBJECT YOUR CLAIM TO
 REJECTION AND PRECLUDE YOUR RECEIVING ANY MONEY IN CONNECTION WITH THE SETTLEMENT OF
 THIS ACTION. DO NOT MAIL OR DELIVER YOUR CLAIM TO THE COURT OR TO ANY OF THE PARTIES OR THEIR
 COUNSEL AS ANY SUCH CLAIM WILL BE DEEMED NOT TO HAVE BEEN SUBMITTED. SUBMIT YOUR CLAIM
 ONLY TO THE CLAIMS ADMINISTRATOR.
 IF YOU ARE NOT A SETTLEMENT CLASS MEMBER, OR IF YOU FILED A REQUEST FOR EXCLUSION FROM
 THE SETTLEMENT CLASS, DO NOT SUBMIT A PROOF OF CLAIM. YOU MAY NOT, DIRECTLY OR INDIRECTLY,
 PARTICIPATE IN THE SETTLEMENT IF YOU ARE NOT A SETTLEMENT CLASS MEMBER OR IF YOU SUBMIT A
 VALID AND TIMELY REQUEST FOR EXCLUSION.
 Submission of this Form does not guarantee that you will share in the proceeds of the Settlement. Distribution of the
 Net Settlement Fund will be governed by the Plan of Allocation set forth in the Notice, if it is approved by the Court, or
 by such other plan of allocation as the Court approves.



      TABLE OF CONTENTS 									PAGE NO.
      PART I - CLAIMANT INFORMATION.......................................................................................................3-4
      PART II - SCHEDULE OF TRANSACTIONS..............................................................................................5
      PART III - SUBSTITUTE FORM W-9...........................................................................................................6
      PART IV - CERTIFICATION AND RELEASE...........................................................................................6-8
Important - This form should be completed IN CAPITAL LETTERS using BLACK or DARK BLUE ballpoint/fountain pen. Characters and marks used
should be similar in the style to the following:

A B C D E F G H I J K L MNO P QR ST UVWX Y Z 1 2 3 4 5 6 7 0
     Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4886 Page 28 of 50

                                                                2                          *P-SAP-POC/2*



                                                  CLAIMANT’S STATEMENT
1.    I (we) purchased or otherwise purchased shares of Arena common stock between March 17, 2008 and January 27, 2011,
      inclusive, and claim to have suffered losses as a result of such purchase.
2.    By submitting this Proof of Claim, I (we) state that I (we) believe in good faith that I am (we are) a Settlement Class
      Member as defined above and in the Notice of Pendency and Proposed Settlement of Class Action (the “Notice”), or am
      (are) acting for such person(s); that I am (we are) not a Defendant in the Action or anyone excluded from the Settlement
      Class; that I (we) have read and understand the Notice; that I (we) believe that I am (we are) entitled to receive a share
      of the Net Settlement Fund, as defined in the Notice; that I (we) elect to participate in the proposed Settlement described
      in the Notice; and that I (we) have not filed a request for exclusion. (Note: If you are acting in a representative capacity
      on behalf of a Settlement Class Member [e.g., as an executor, administrator, trustee, or other representative], you must
      submit evidence of your current authority to act on behalf of that Class Member. Such evidence would include, for
      example, letters testamentary, letters of administration, or a copy of the trust documents.)
3.    I (we) consent to the jurisdiction of the Court with respect to all questions concerning the validity of this Proof of Claim. I
      (we) understand and agree that my (our) claim may be subject to investigation and discovery under the Federal Rules of
      Civil Procedure, provided that such investigation and discovery shall be limited to my (our) status as a Settlement Class
      Member(s) and the validity and amount of my (our) claim. No discovery shall be allowed on the merits of the Action or
      Settlement in connection with processing of the Proof of Claim.
4.    I (we) have set forth where requested below all relevant information with respect to each purchase of Arena common
      stock during the Class Period, and each sale, if any, of such securities. I (we) agree to furnish additional information to
      the Claims Administrator to support this claim if requested to do so.
5.    I (we) have enclosed photocopies of the stockbroker’s confirmation slips, stockbroker’s statements, or other documents
      evidencing each purchase, sale or retention of Arena common stock listed below in support of my (our) claim. (Note: IF ANY
      SUCH DOCUMENTS ARE NOT IN YOUR POSSESSION, PLEASE OBTAIN A COPY OR EQUIVALENT DOCUMENTS
      FROM YOUR BROKER BECAUSE THESE DOCUMENTS ARE NECESSARY TO PROVE AND PROCESS YOUR
      CLAIM.)
6.    I (we) understand that the information contained in this Proof of Claim is subject to such verification as the Claims
      Administrator may request or as the Court may direct, and I (we) agree to cooperate in any such verification. (Note:
      The information requested herein is designed to provide the minimum amount of information necessary to process most
      simple claims. The Claims Administrator may request additional information as required to efficiently and reliably calculate
      your recognized claim. In some cases, the Claims Administrator may condition acceptance of the claim based upon the
      production of additional information.
7.    Upon the occurrence of the Court’s approval of the Settlement, as detailed in the Notice, I (we) agree and acknowledge
      that my (our) signature(s) hereto shall effect and constitute a full and complete release, remise and discharge by me (us)
      and my (our) heirs, joint tenants, tenants in common, beneficiaries, executors, administrators, predecessors, successors,
      attorneys, insurers and assigns (or, if I am (we are) submitting this Proof of Claim on behalf of a corporation, a partnership,
      estate or one or more other persons, by it, him, her or them, and by its, his, her or their heirs, executors, administrators,
      predecessors, successors, and assigns) of each of the “Released Parties” of all “Release of Claims,” as defined in the
      Notice.
8.    NOTICE REGARDING ELECTRONIC FILES: Certain claimants with large numbers of transactions may request, or
      may be requested, to submit information regarding their transactions in electronic files. All Claimants MUST submit a
      manually signed paper Proof of Claim form listing all their transactions whether or not they also submit electronic copies.
      If you wish to file your claim electronically, you must contact the Claims Administrator at eClaim@choosegcg.com or visit
      their website at www.ArenaPharmaceuticalsClassActionSettlement.com to obtain the required file layout. No electronic
      files will be considered to have been properly submitted unless the Claims Administrator issues to the Claimant a written
      acknowledgment of receipt and acceptance of electronically submitted data.
     Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4887 Page 29 of 50

                                                                   3                          *P-SAP-POC/3*

                                            PART I - CLAIMANT INFORMATION

 Claimant Contact Information:

 The Claims Administrator will use this information for all communications relevant to this claim (including the check, if eligible for
 payment). If this information changes, you MUST notify the Claims Administrator in writing at the address above.

 Claimant Name(s) (as the name(s) should appear on the check, if eligible for payment; if the shares are or were jointly
 owned, the names of all beneficial owners must be provided):

   Name:




   Address:




   City: 										                                                                            State:      Zip Code:


   Foreign Province:					


   Foreign Country:							


   Daytime Telephone Number:					                                       Evening Telephone Number:
               -               -                                                    -                  -
   Social Security Number (for individuals) OR Taxpayer Identification Number (for estates, trusts, corporations, etc.)




Please complete the appropriate section carefully. Failure to complete it in its entirety will result in the forfeiture of
your rights to receive the Securities if any are distributed. You may only complete one.


    Section A. Individual / Sole Proprietor. Use of initials only (e.g. J.G. Doe) is not acceptable.
                                                                              Name:
     Individual.
     Sole Proprietor
    Section B. Joint Ownership. Please indicate the type of tenancy.
                                                                            Name(s):
     Joint Tenants - Jt Ten
        (includes right of survivorship – JTWROS)
     Tenants in Common - Ten Com
     Tenants by Entireties - Ten Ent
    Section C. Retirement accounts. Please indicate the type of retirement account.
     IRA                                                                   Custodian:
     Roth IRA
     Keogh
        (Defined Benefit Plan or Defined Contribution Plan)                 Beneficiary:
     Other (please describe)______________________________
            To view Garden City Group, LLC’s Privacy Notice, please visit http://www.choosegcg.com/privacy
                             ______________________________
     Date of Plan:
 Sole Proprietor
 Case B.
Section  3:10-cv-01959-CAB-BLM           Document
           Joint Ownership. Please indicate the type of160-2
                                                        tenancy.Filed 03/08/18 PageID.4888 Page 30 of 50

                                                                                *P-SAP-POC/4*
                                                                    Name(s):
 Joint Tenants - Jt Ten
   (includes right of survivorship – JTWROS)                4
 Tenants in Common - Ten Com  PART I - CLAIMANT INFORMATION CONTINUED
 Tenants by Entireties - Ten Ent
Section C. Retirement accounts. Please indicate the type of retirement account.
 IRA                                                                Custodian:
 Roth IRA
 Keogh
   (Defined Benefit Plan or Defined Contribution Plan)               Beneficiary:
 Other (please describe)______________________________
                             ______________________________
 Date of Plan:
           /                 /

Section D. Private or public entity. Please indicate the entity type and check one box below.
 Corporation
 Partnership
 Limited Liability Company
 Non-Profit Organization
 Foundation
Section E. Custodianships.                           Custodian:                                         State:
 UCTA
 UGMA                                               Minor:                                             Age:
 UTMA

Section F. Under Trust agreements. Please indicate the name of the trustee(s), the name of the Trust and the date of the
           Trust agreement in the space provide below)
 Name of trustee(s):


 Name of Trust:


 Date of Trust Agreement:
           /                 /

Section G. Estate. Please indicate the fiduciary capacity and the name of the person or entity authorized to hold such
           capacity as follows. (e.g. Include the name of the deceased and the executor)
                                                                     Fiduciary Name(s):
 Executor (EX)
 Personal Representative (Per Rep)
 Administrator (Adm)                                                Estate of:
 Conservator (Cons)
 Other. Please explain ______________________________
 Date of Agreement:
           /                 /
     Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4889 Page 31 of 50

                                                                          5                                 *P-SAP-POC/5*

                    PART II - SCHEDULE OF TRANSACTIONS IN ARENA COMMON STOCK

A.       BEGINNING HOLDINGS: State the total number of shares of Arena common stock
         owned at the opening of trading on March 17, 2008, long or short (must be documented).
         If none, write “zero” or “0”.                                                                                                   Shares



B.       PURCHASES/ACQUISITIONS: Separately list each and every purchase of Arena common stock during the period
         from March 17, 2008 and April 27, 2011, inclusive, and provide the following information (must be documented):1


              Trade Date                    Number of Shares               Purchase/Acquisition Price Per                 Total Cost
        (List Chronologically)             Purchased/Acquired                         Share                            (excluding taxes,
          (Month/Day /Year)                                                                                          commissions and fees)



          /             /                                                                       .                                             .

          /             /                                                                       .                                             .

          /             /                                                                       .                                             .

          /             /                                                                       .                                             .


C.       SALES: For shares purchased separately list each and every sale of Arena common stock during the period March
         17, 2008 and April 27, 2011, inclusive, and provide the following information (must be documented):


              Trade Date                    Number of Shares                   Sale Price Per Share                     Amount Received
        (List Chronologically)                   Sold                                                                   (excluding taxes,
          (Month/Day /Year)                                                                                           commissions and fees)



           /             /                                                                      .                                             .

           /             /                                                                      .                                             .

           /             /                                                                      .                                             .

           /             /                                                                      .                                             .


D.       ENDING HOLDINGS: State the total number of shares of Arena common stock owned at
         the close of trading on April 27, 2011, long or short (must be documented).
                                                                                                                                         Shares


          IF YOU NEED ADDITIONAL SPACE TO LIST YOUR TRANSACTIONS YOU MUST
       PHOTOCOPY THIS PAGE, PRINT YOUR NAME AND SOCIAL SECURITY OR TAXPAYER
         IDENTIFICATION NUMBER AT THE TOP OF EACH SHEET AND CHECK THIS BOX:

     IF YOU DO NOT CHECK THIS BOX THESE ADDITIONAL PAGES WILL NOT BE REVIEWED.
 1
  Please note: Information requested with respect to your purchases/acquisitions of Arena common stock from after the close of trading on January
 27, 2011 through and including the close of trading on April 27, 2011 is needed in order to balance your claim; purchases/acquisitions during this
 period, however, are not eligible under the Settlement and will not be used for purposes of calculating your Recognized Loss pursuant to the Plan of
 Allocation.
     Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4890 Page 32 of 50

                                                                  6                         *P-SAP-POC/6*

                                            PART III - SUBSTITUTE FORM W-9

 Request for Taxpayer Identification Number (Required for Receipt of Stock):
 Enter taxpayer identification number below for the Beneficial Owner(s). For most individuals, this is your Social Security Number.
 The Internal Revenue Service (“I.R.S.”) requires such taxpayer identification number. If you fail to provide this information, your
 claim may be rejected.
   Social Security Number (for individuals) OR Taxpayer Identification Number (for estates, trusts, corporations, etc.)




                                       PART IV - CERTIFICATION AND RELEASE

                                                             Definitions

All capitalized terms used but not defined herein shall have the same meanings as in the Notice and the Stipulation and
Agreement of Settlement dated November 3, 2017 (“the Stipulation”), which is posted on the Claims Administrator’s website at
www.ArenaPharmaceuticalsClassActionSettlement.com. In addition, the following terms shall have the following meanings:

1.      “Defendants” means Arena Pharmaceuticals, Inc., Jack Lief, Robert E. Hoffman, Dominic P. Behan, William R. Shanahan,
        Jr., and Christen Anderson.

2.      “Released Persons” means each and all of the Defendants and each and all of their Related Persons.

3.      “Related Persons” means each of the Released Persons’ and their legal affiliates’ past or present directors, officers,
        employees, partners, insurers, co-insurers, reinsurers, principals, controlling shareholders, attorneys, accountants,
        auditors, investment advisors, personal or legal representatives, predecessors, successors, parents, subsidiaries,
        divisions, joint ventures, assigns, spouses, heirs, estates, related or affiliated entities, any entity in which a Released
        Person has a controlling interest, any members of an Individual Defendant’s immediate family, any trust of which an
        Individual Defendant is the settlor or which is for the benefit of an Individual Defendant and/or any member of an Individual
        Defendant’s immediate family, and any entity in which a Defendant and/or any member of an Individual Defendant’s
        immediate family has or have a controlling interest (directly or indirectly).

4.       “Released Claims” means any and all claims, demands, rights, causes of action or liabilities of every nature and description
        whatsoever (including, but not limited to, any claims for damages, interest, attorneys’ fees, expert or consulting fees, and
        any other costs, expenses or liabilities whatsoever), whether based on federal, state, local, foreign, statutory or common
        law or any other law, rule, ordinance, administrative provision or regulation, including Unknown Claims as defined in ¶1.30
        of the Stipulation, whether class or individual in nature, whether fixed or contingent, accrued or unaccrued, liquidated or
        unliquidated, at law or in equity, matured or unmatured, concealed or hidden, suspected or unsuspected, which now exist
        or heretofore have existed, that were asserted or could have been asserted by Lead Plaintiff or any Settlement Class
        Member against the Released Persons based on, arising from or relating to both: (i) the purchase, acquisition, holding,
        disposition, or sale of Arena common stock during the Class Period; and (ii) the allegations, transactions, facts, matters,
        events, disclosures, registration statements, public filings, acts, occurrences, representations, statements, omissions or
        failures to act that occurred during the Class Period and that were or could have been alleged by Lead Plaintiff in the
        Action against the Released Persons based upon the facts alleged in the Complaint. Released Claims does not include
        claims to enforce the Settlement.

5.      “Unknown Claims” means collectively any Released Claims which Lead Plaintiff or any Settlement Class Member do
        not know or suspect to exist in his, her or its favor at the time of the release of the Released Persons which, if known
        by him, her or it, might have affected his, her or its settlement with and release of the Released Persons, or might have
        affected his, her or its decision not to object to this Settlement or seek exclusion from the Settlement Class. With respect
        to any and all Released Claims, the Settling Parties stipulate and agree that, upon the Effective Date, Lead Plaintiff shall
        expressly waive and each of the Class Members shall be deemed to have, and by operation of the Judgment shall have,
        expressly waived the provisions, rights, and benefits of California Civil Code §1542, which provides:
      Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4891 Page 33 of 50

                                                                  7                          *P-SAP-POC/7*

                               PART IV- CERTIFICATION AND RELEASE CONTINUED
                 A general release does not extend to claims which the creditor does not know or suspect to exist in his or her
                 favor at the time of executing the release, which if known by him or her must have materially affected his or her
                 settlement with the debtor.

        Lead Plaintiff shall expressly waive and each of the Settlement Class Members shall be deemed to have, and by operation
        of the Judgment shall have, expressly waived any and all provisions, rights, and benefits conferred by any law of any
        state or territory of the United States or any foreign country, or any principle of common law, which is similar, comparable
        or equivalent in substance to California Civil Code §1542. Lead Plaintiff and Settlement Class Members may hereafter
        discover facts in addition to or different from those which he, she or it now knows or believes to be true with respect to the
        subject matter of the Released Claims, but upon the Effective Date, each Settlement Class Member, and Lead Plaintiff
        expressly, shall be deemed to have, and by operation of the Judgment shall have, fully, finally, and forever settled and
        released any and all Released Claims, known or unknown, suspected or unsuspected, contingent or non-contingent,
        whether or not concealed or hidden, which now exist, or heretofore have existed, upon any theory of law or equity
        now existing or coming into existence in the future, including, but not limited to, conduct which is negligent, intentional,
        with or without malice, or a breach of any duty, law or rule, without regard to the subsequent discovery or existence of
        such different or additional facts. Lead Plaintiff acknowledges, and the Settlement Class Members shall be deemed by
        operation of the Judgment to have acknowledged, that the foregoing waiver was separately bargained for and a material
        element of the Settlement of which this release is a part.

                           Submission to Jurisdiction of Court and Acknowledgements and Affirmations

I (we) submit this Proof of Claim and Release Form under the terms of the Stipulation of Settlement described in the Notice. I (we)
also submit to the jurisdiction of the United States District Court for the Southern District of California with respect to my claim as
a Settlement Class Member and for purposes of enforcing the release set forth herein. I (we) further acknowledge that I am (we
are) bound and subject to the terms of any judgment that may be entered in the Action. I (we) affirm that I (we) purchased Arena
common stock between March 17, 2008 and January 27, 2011, inclusive, and claim to have suffered losses as a result of such
purchase. By submitting this Proof of Claim and Release Form, I (we) state that I (we) believe in good faith that I am a (we are)
Settlement Class Member(s) as defined in the Notice or am (are) acting for such person; that I am (we are) not a Defendant in the
Action or anyone excluded from the Settlement Class; that I (we) have read and understand the Notice; that I (we) believe that I am
(we are) entitled to receive a share of the Net Settlement Fund; that I (we) elect to participate in the proposed Settlement described
in the Notice; that I (we) have not filed a request for exclusion; and that I (we) have not submitted any other claim covering the
same purchases of Arena common stock between March 17, 2008 and January 27, 2011, inclusive, and know of no other person
having done so on my (our) behalf. I (We) have set forth where requested herein all relevant information with respect to each
purchase or acquisition of Arena common stock between March 17, 2008 and January 27, 2011, inclusive. I (we) agree to furnish
additional information to the Claims Administrator to support this claim if requested to do so. I (we) understand that no discovery
shall be allowed on the merits of the Action or Settlement in connection with processing of the Proof of Claim and in particular that
no discovery shall be permitted against any Defendants in connection with any Proof of Claim.
      Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4892 Page 34 of 50

                                                                         8                            *P-SAP-POC/8*

                                  PART IV- CERTIFICATION AND RELEASE CONTINUED


                                                                     Release

I (We) hereby acknowledge, on behalf of myself (ourselves) and my (our) heirs, agents, executors, administrators, predecessors, successors,
and assigns (or, if submitting this Proof of Claim and Release Form on behalf of a corporation, a partnership, estate or one or more other persons,
on behalf of it, him, her or them and on behalf of its, his, her or their heirs, agents, executors, administrators, predecessors, successors, and
assigns), full and complete satisfaction of, and do hereby fully, finally and forever settle, release and discharge from the Released Claims each
and all of the Released Parties, and I (we) shall forever be enjoined from prosecuting any or all Released Claims against any Released Parties.

This release shall be of no force or effect unless and until the Court approves the Stipulation and the Stipulation becomes effective on the
Effective Date (as defined in the Stipulation).

I (We) hereby warrant and represent that I (we) have not assigned or transferred or purported to assign, transfer, voluntarily or involuntarily, any
matter released pursuant to this release or any other part or portion thereof.

I (We) hereby warrant and represent that I (we) have included information about all of my (our) transactions in Arena common stock that occurred
during the Class Period, as well as the number of shares of Arena held by me (us) at the beginning of trading on March 17, 2008 and at the
close of trading on January 27, 2011.

I (We) certify that I am (we are) not subject to backup withholding under the provisions of Section 3406(a)(1)(C) of the Internal Revenue Code.

Note: If you have been notified by the Internal Revenue Service that you are subject to backup withholding, please strike out the language that
you are not subject to backup withholding in the certification above.

I (We) declare under penalty of perjury under the laws of the United States of America that the foregoing information supplied by the undersigned
is true and correct.

____________________________________________________ ___________________________________________
Signature								Date

______________________________________________________ ___________________________________________
Print Name 								Email Address

______________________________________________________ ___________________________________________
Day Telephone								Evening Telephone

On Behalf of:

_____________________________________________________________________________________________________
(Print name of corporation, partnership, estate, or other entity if you are submitting this form on behalf of one of them.)

______________________________________________________ ___________________________________________
Signature								Date

______________________________________________________ ___________________________________________
Print Name 								Email Address

______________________________________________________ ___________________________________________
Day Telephone								Evening Telephone

On Behalf of:

_____________________________________________________________________________________________________
(Print name of corporation, partnership, estate, or other entity if you are submitting this form on behalf of one of them.)
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4893 Page 35 of 50




                             Exhibit B
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4894 Page 36 of 50
P2JW360000-0-B00600-1--------XA
                                                           Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4895 Page 37 of 50

    B6 | Tuesday, December 26, 2017                                                                                                                                                                                                                                                                 THE WALL STREET JOURNAL.


                                                                                                                                             CLOSED-END FUNDS
                                                                                                                                                                wsj.com/funds
    Listed are the 300 largest closed-end funds as                                                                 52 wk                                       Prem12 Mo                                               Prem12 Mo                                                      Prem12 Mo                                               Prem12 Mo
    measured by assets. Closed-end funds sell a limited                                              Prem             Ttl    Fund (SYM)              NAV Close /Disc Yld           Fund (SYM)                NAV Close /Disc Yld                 Fund (SYM)                 NAV Close /Disc Yld            Fund (SYM)               NAV Close /Disc Yld
    number of shares and invest the proceeds in securities.       Fund (SYM)               NAV Close /Disc           Ret
    Unlike open-end funds, closed-ends generally do not                                                                      NuvFloatRteInco Fd JFR 11.48 11.09 -3.4 7.4           Doubleline Oppor Credit DBL 21.46 22.20     +3.4      9.0     BlackRockMuni BLE 14.94 14.32               -4.1    6.1   PIMCO MuniFd PMF 12.79 12.94 +1.1 5.8
    buy their shares back from investors who wish to cash         Reaves Utility Fund UTG 33.50 30.91 -7.7 8.7               Nuv Float Rte Opp Fd JRO 11.38 11.17 -1.9 7.8         Duff & Phelps Utl & Cp Bd DUC 9.59 8.80     -8.2      6.6     BlackRockMuni Tr BYM 15.12 14.00            -7.4    5.3   Pimco Muni Inc II PML 12.05 13.21 +9.6 5.8
    in their holdings. Instead, fund shares trade on a stock
    exchange. NA signifies that the information is not            Tekla Hlthcr Investors HQH 24.20 22.63 -6.5 14.4           Nuveen Senior Income Fund NSL 6.80 6.49 -4.6 7.4      EtnVncLtdFd EVV               14.98 13.56   -9.5      7.3     BlkRk MuniAssets Fd MUA 14.12 14.87         +5.3    4.6   PIMCO Muni Inc III PMX 10.99 11.66 +6.1 5.8
    available or not applicable. NS signifies fund not in         Tekla Healthcare Opps Fd THQ 19.31 17.51 -9.3 NA           Pioneer Floating Rate Tr PHD 12.37 11.51 -7.0 6.3     Franklin Ltd Duration IT FTF NA 11.72        NA      12.8     BlkRk Munienhanced MEN 11.85 11.54          -2.6    5.6   Pioneer Mun Hi Inc Adv Tr MAV 11.81 11.38 -3.7 5.3
    existence of entire period. 12 month yield is computed
    by dividing income dividends paid (during the previous        Tekla Life Sciences HQL 19.95 19.25 -3.5 21.1              Voya Prime Rate Trust PPR 5.64 5.08 -9.9 5.9          Guggenheim Taxable Muni GBAB 23.20 22.48    -3.1      6.7     BlkRk MuniHldgs Inv MFL 14.59 14.61         +0.1    5.7   Pioneer Mun Hi Incm Tr MHI 12.77 11.83 -7.4 5.0
    twelve months for periods ending at month-end or              Tekla World Hlthcr Fd THW 14.68 13.57 -7.6 13.5            High Yield Bond Funds                                 Invesco High Incm 2023 IHIT 10.02 9.71      -3.1      5.5     BlkRk MuniHldgs Qlty II MUE 13.95 13.95      0.0    5.5   Putnam Tr PMM                   7.93 7.34 -7.4 5.4
    during the previous fifty-two weeks for periods ending
    at any time other than month-end) by the latest               Tortoise Energy TYG                 26.99 NA -5.3          AllianceBernstein Glbl AWF NA 12.75 NA 6.8            John Hancock Investors JHI 18.29 17.55      -4.0      7.4     BlkRk MuniVest MVF 9.60 9.67                +0.7    5.7   Putnam Muni Opportunities PMO 13.25 12.35 -6.8 5.2
    month-end market price adjusted for capital gains             Tortoise MLP Fund NTG               16.87 NA -4.5          Barings Glbl Short Dur HY BGH 20.93 19.33 -7.6 9.5    KKR Income Opps Fund KIO NA 15.80            NA      10.0     BlkRk MuniVest II MVT 15.14 15.34           +1.3    5.7   Wstrn Asset Mngd Muni MMU NA 14.33 NA 5.3
    distributions.
                                                Source: Lipper    Voya Gl Equity Div IGD 8.30 7.91 -4.7 26.5                 BlackRock Corp Hi Yd Fd HYT 12.20 10.94 -10.3 8.1     MFS Charter MCR                9.20 8.47    -7.9      8.9     BlkRk MuniYield MYD 14.77 14.36             -2.8    5.9   Western Asset Mun Tr Fund MTT NA 20.94 NA 5.0
                 Friday, December 22, 2017                        Income Preferred Stock Funds                               BlackRockDurInco Tr BLW 16.99 15.86 -6.7 7.8          MFS Multimkt MMT 6.58 6.08                  -7.6      8.8     BlkRk MuniYld Quality MQY 15.75 15.10       -4.1    5.5   Single State Muni Bond
                                                      52 wk       Calamos Strat Fd CSQ 13.01 12.23 -6.0 27.8                 Brookfield Real Assets RA 25.05 23.39 -6.6 NS         Nuveen Build Am Bd Fd NBB 22.31 21.79       -2.3      5.6     BlkRk MuniYld Qlty II MQT 13.83 12.97       -6.2    5.6   BlackRock CA Municipal Tr BFZ 15.14 13.83 -8.7 5.2
                                         Prem            Ttl      Cohen & Steers Dur Pfd LDP 27.22 26.11 -4.1 16.2           Credit Suisse High Yld DHY 2.77 2.83 +2.2 9.6         PIMCO Corporate & Incm PTY NA 16.41                           BlRkMunyldQltyIII MYI 14.36 13.82           -3.8    5.8   BlkRk MuniHldgs CA Qlty MUC 15.38 14.35 -6.7 5.0
    Fund (SYM)                 NAV Close /Disc          Ret                                                                                                                                                                     NA      10.4
                                                                  Cohen & Strs Sel Prf Inco PSF 27.86 28.42 +2.0 18.7        DoubleLine Incm Solutions DSL NA 20.15 NA 8.9         PIMCO Corporate & Incm PCN NA 17.15          NA      10.6     Deutsche Mun Income Tr KTF 12.52 11.80      -5.8    6.5   Blkrck MunHl NJ Qlty MUJ 15.56 14.31 -8.0 5.7
    General Equity Funds                                          FT Interm Duration Pfd FPF 25.02 24.59 -1.7 19.0           Dreyfus Hi Yd Strat Fd DHF 3.54 3.33 -5.9 9.1         PIMCO HiInco PHK                                              Dreyfus Mun Bd Infr Fd DMB 14.19 12.94      -8.8    4.9   BlRk MuHldg NY Qlty MHN 14.71 13.36 -9.2 5.0
                                                                                                                                                                                                                   NA 7.48      NA      13.6
    Adams Divers Equity Fd ADX 17.62 15.08 -14.4         28.8     Flaherty & Crumrine Dyn DFP 26.28 26.95 +2.5 25.9          Fst Tr Hi Inc Lg/Shrt Fd FSD 18.00 16.33 -9.3 8.8                                                                   Dreyfus Strat Muni Bond DSM 8.29 8.43       +1.7    5.9   BlkRk MuniYld CA Fd MYC 15.39 14.71 -4.4 5.1
                                                                                                                                                                                   PIMCO Inco Str Fd PFL NA 11.64               NA       9.4
    Boulder Growth & Income BIF 12.99 11.00 -15.3        28.1     Flaherty & Crumrine Pfd FFC 20.32 20.34 +0.1 15.7          Guggenheim Strat Opps Fd GOF 19.69 21.65 +10.0 10.1                                                                 Dreyfus Strategic Munis LEO 8.50 8.63       +1.5    5.9   BlkRk MuniYld CA Quality MCA 15.61 14.56 -6.7 5.2
                                                                                                                                                                                   PIMCO Incm Strategy Fd II PFN NA 10.33       NA       9.2
    Central Securities CET 33.09 27.51 -16.9             30.5     John Hancock Pfd Income HPI 21.47 21.48 0.0 15.8           Ivy High Income Opps Fund IVH 15.94 14.90 -6.5 10.0                                                                 Eaton Vance Mun Bd Fd EIM 13.55 12.45       -8.1    5.0   BlkRk MuniYld MI Qlty MIY 15.35 13.85 -9.8 5.5
                                                                                                                                                                                   Putnam Mas Inco PIM 5.02 4.70               -6.4      6.5
    CohSteer Opprtnty Fd FOF 13.89 13.22 -4.8            22.3     John Hancock Pfd II HPF 21.22 21.50 +1.3 16.7              Neuberger Berman HYS NHS NA 11.76 NA 7.6                                                                            Eaton Vance Mun Income EVN 13.27 12.32      -7.2    5.4   BlRk Muyld NY Qlty MYN 14.09 12.79 -9.2 5.0
                                                                                                                                                                                   Putnam Premier Income Tr PPT 5.58 5.23      -6.3      6.0
    Cornerstone Strategic CLM 13.55 15.35 +13.2          25.8     John Hancock Pfd Inc III HPS 18.91 18.66 -1.3 15.6         NexPoint Credit Strat Fd NHF 26.44 24.94 -5.7 10.1                                                                  EV National Municipal Opp EOT 21.70 22.83   +5.2    4.4   Eaton Vance CA Mun Bd EVM 12.18 11.56 -5.1 4.9
                                                                                                                                                                                   Wells Fargo Multi-Sector ERC NA 13.03        NA       9.6
    EtnVnc TaxAdvDiv EVT 23.88 23.29 -2.5                22.9     JHancock Pr Div PDT 15.27 17.24 +12.9 23.9                 Nuveen Credit Opps 2022 JCO 9.92 9.66 -2.6 NS                                                                       Invesco Adv Mun Incm II VKI 12.06 11.27     -6.6    5.8   Invesco CA Value Mun Incm VCV 13.29 12.45 -6.3 5.1
                                                                                                                                                                                   World Income Funds
    Gabelli Dividend & Incm GDV 25.15 23.16 -7.9         22.4     LMP Cap & Inco Fd SCD               13.76 NA 14.8          Nuveen Gl Hi Incm Fd JGH 18.49 16.81 -9.1 8.7                                                                       Invesco Mun Incm Opps Tr OIA 7.56 8.12      +7.4    5.1   Invesco PA Value Mun Incm VPV 13.95 12.09 -13.3 5.2
                                                                                                                                                                                   Abeerden Asia-Pacific FAX 5.45 4.89         -10.3     8.5
    Gabelli Equity Trust GAB 6.48 6.20 -4.3              21.9     Nuveen Pfd & Incm Opps Fd JPC 10.74 10.40 -3.2 17.1        Nuveen High Incm Dec18 JHA 10.06 9.89 -1.7 5.1                                                                      Invesco Mun Opportunity VMO 13.43 12.34     -8.1    6.1   Invesco Inv Grade NY Muni VTN 14.45 13.70 -5.2 5.0
                                                                                                                                                                                   Etn Vnc Short Dur Fd EVG 15.24 14.25         -6.5     7.1
    Genl American Investors GAM 40.77 34.30 -15.9        20.3     Nuveen Pfd & Incm Secs Fd JPS 10.34 10.23 -1.1 22.6        Nuveen High Incm Dec19 JHD 10.21 9.99 -2.2 5.8                                                                      Invesco Municipal Trust VKQ 13.42 12.44     -7.3    5.9   Nuveen CA AMT-Free Qual NKX 15.72 15.26 -2.9 5.1
                                                                                                                             Nuveen Hi Incm Nov 2021 JHB 10.11 9.82 -2.9 6.0       Legg Mason BW Glbl Incm BWG NA 12.65          NA      8.4     Invesco Qlty Mun Inco IQI 13.52 12.35
    Guggenheim Enh Fd GPM 9.01 8.82 -2.1                 25.1     Nuveen Preferred & Incm JPI 25.92 24.91 -3.9 17.8                                                                                                                                                                          -8.7    5.4   Nuveen CA Muni Value NCA 10.40 10.12 -2.7 3.9
                                                                                                                             Pioneer High Income Trust PHT 10.76 9.73 -9.6 8.2     MS EmMktDomDebt EDD 8.81 7.69               -12.7     8.6     Invesco Inv Grade Muni VGM 13.90 13.13      -5.5    5.8
    HnckJohn TxAdv HTD 25.26 25.07 -0.8                  20.7     TCW Strategic Income Fund TSI        5.71 NA 12.6                                                                                                                                                                                        Nuveen CA Quality Muni NAC 15.53 14.23 -8.4 5.5
                                                                                                                             Prud Gl Shrt Dur Hi Yd GHY 16.29 14.39 -11.7 7.9      PIMCO Dynamic Credit PCI NA 22.33             NA     11.5     Invesco Value Mun Incm Tr IIM 16.16 14.76   -8.7    5.0
    Liberty All-Star Equity USA 6.89 6.29 -8.7           32.8     Virtus Global Dividend ZTR 12.95 13.29 +2.7 29.7                                                                                                                                                                                         Nuveen MD Qual Muni NMY 14.50 12.53 -13.6 5.0
                                                                                                                             Prudentl Sh Dur Hi Yd Fd ISD 16.47 14.80 -10.1 7.9    PIMCO Dynamic Income Fund PDI NA 30.23        NA     13.4     MainStay DefinedTerm MMD 20.05 19.76        -1.4    5.5
    Royce Micro-Cap RMT 10.45 9.39 -10.1                 23.5     Convertible Sec's. Funds                                                                                                                                                                                                                 Nuveen MI Qual Muni NUM 15.28 13.14 -14.0 4.8
                                                                                                                             Wells Fargo Incm Opps Fd EAD NA 8.37 NA 8.8           PIMCO Income Opportunity PKO NA 26.05         NA     10.1     MFS Munl Inco MFM 7.32 6.88                 -6.0    5.6
    Royce Value Trust RVT 17.50 16.10 -8.0               28.6     AdvntClymrFd AVK 17.56 15.87 -9.6 16.1                                                                                                                                                                                                   Nuveen NJ Qual Muni NXJ 15.74 13.51 -14.2 5.2
    Source Capital SOR 45.05 41.12 -8.7                                                                                      Wstrn Asset Glbl Hi Inco EHI NA 10.07 NA 8.7          PIMCO Strat Income Fund RCS NA 8.80           NA     10.1     Nuveen AMT-Free Quality NEA 15.02 13.63     -9.3    5.4
                                                         17.2     AllianzGI Conv & Incm NCV 6.66 7.00 +5.1 22.3                                                                                                                                                                                            Nuveen NY AMT-Free NRK 14.28 12.75 -10.7 4.9
    Tri-Continental TY                                                                                                       Wstrn Asset High Inco II HIX NA 6.90 NA 8.9           Templeton Emerging TEI 12.78 11.27          -11.8     4.5     Nuveen AMT-Free Mun NVG 16.39 15.25         -7.0    5.7
                                   29.92 26.68 -10.8     27.6     AllianzGI Conv & Incm II NCZ 5.98 6.18 +3.3 21.2                                                                                                                                                                                         Nuveen NY Qual Muni NAN 14.93 13.68 -8.4 5.1
    Specialized Equity Funds                                                                                                 Wstrn Asset Opp Fd HIO NA 5.00 NA 7.2                 Templeton Global GIM 7.29 6.47              -11.2     6.0     Nuveen Mun Credit Incm Fd NZF 15.97 15.00   -6.1    5.8
                                                                  AllianzGI Div Incm ACV 22.84 21.92 -4.0 27.9                                                                                                                                                                                             Nuveen OH Qual Muni NUO 16.51 14.70 -11.0 5.0
    Adams Natural Rscs Fd PEO 23.17 19.77 -14.7           2.6                                                                West Asst HY Def Opp Fd HYI NA 15.06 NA 7.9           Wstrn Asset Emerg Mkts EMD NA 15.42           NA      7.7     Nuveen Enhncd Mun Val Fd NEV 14.91 14.17    -5.0    5.7
                                                                  AllianzGI Equity & Conv NIE 23.23 21.21 -8.7 21.7                                                                                                                                                                                        Nuveen PA Qual Muni NQP 15.13 13.12 -13.3 5.3
    AllnzGI NFJ Div Interest NFJ 14.77 13.15 -11.0       12.7                                                                Other Domestic Taxable Bond Funds                     Wstrn Asset Gl Def Opp Fd GDO NA 17.92        NA      7.5     Nuveen Intermed Dur Mun NID 13.72 13.03     -5.0    4.9
                                                                  Calamos Conv Hi Inco Fd CHY 11.76 11.93 +1.4 23.9                                                                                                                                                                                        Nuveen VA Qual Muni NPV 14.37 12.81 -10.9 4.3
    AlpnGlblPrProp AWP 7.31 6.66 -8.9                    42.6                                                                Apollo Tactical Incm Fd AIF 17.41 15.61 -10.3 8.9     National Muni Bond Funds                                      NuveenMuniIncoOpp Fd NMZ 13.50 13.54        +0.3    5.9
                                                                  Calamos CHI                   11.16 11.40 +2.2 24.3                                                                                                                                                                                      PIMCO California Muni PCQ 14.06 17.28 +22.9 5.3
    ASA Gold & Prec Metals ASA           11.24 NA         9.8                                                                Ares Dynamic Credit Alloc ARDC NA 16.27 NA 6.9        AllianceBrnstn NtlMun AFB 14.79 13.33        -9.9     4.6     Nuveen Muni Value Fund NUV 10.23 10.02      -2.1    3.8
                                                                  World Equity Funds                                                                                                                                                                                                                       PIMCO California Mun II PCK 8.59 10.15 +18.2 5.6
    BlkRk Enh Cap Inco CII 17.25 16.41 -4.9              28.4                                                                Barings Corp Investors MCI NA 15.62 NA 3.8            Blackrock Invest BKN 15.73 14.67             -6.7     5.3     Nuveen Qual Mun Incm Fd NAD 15.35 13.94     -9.2    5.5
                                                                  Alpine Tot Dyn Div AOD 10.26 9.43 -8.1 35.0                                                                                                                                                                                                                                             52 wk
    BlkRk Engy Res Tr BGR 15.66 14.05 -10.3               3.4                                                                BlackRock Multi-Sector IT BIT 19.92 18.28 -8.2 9.8    BlackRock Mun 2030 Target BTT 24.05 22.18    -7.8     4.1     Nuveen Sel Tax Free NXP 15.33 14.67         -4.3    3.7
                                                                  Cdn Genl Inv CGI              32.78 23.40 -28.6 25.7                                                                                                                                                                                                                              Prem Ttl
    BlackRock Enh Eq Div Tr BDJ 9.95 9.15 -8.0           18.9                                                                BlackRock Taxable Mun Bd BBN 23.71 22.86 -3.6 6.8     BlackRock Municipal Trust BFK 14.37 14.04    -2.3     5.7     Nuveen Sel TF NXQ 14.72 13.89               -5.6    3.5   Fund (SYM)                   NAV Close /Disc Ret
                                                                  China Fund CHN                23.27 21.37 -8.2 50.9
    BlackRock Enh Gl Div Tr BOE 13.17 12.48 -5.2         28.8     Clough Global Opp Fd GLO            10.95 NA 36.2                                                                                                                                                                                        General Equity Funds
    BlkRk Intl Grwth&Inco BGY 6.99 6.53 -6.6             29.0     EtnVncTxAdvGblDiv ETG 18.52 17.43 -5.9 32.7                                                                                                                                                                                              Specialized Equity Funds
    BlkRk Health Sci BME 35.69 36.27 +1.6
    BlackRck Rscs Comm Str Tr BCX 10.49 9.57 -8.8
                                                         21.3
                                                         24.2
                                                                  EatonVance TxAdv Opport ETO 24.90 25.41 +2.0 35.0
                                                                  First Trust Dynamic Eur FDEU 19.70 18.95 -3.8 33.1
                                                                                                                             Insider-Trading Spotlight                                                                                                                                                     Griffin Inst Access RE:A 26.68 NA NA 6.3
                                                                                                                                                                                                                                                                                                           Griffin Inst Access RE:C 26.22 NA NA 5.5
    BlackRock Science & Tech BST 27.89 27.01 -3.2        58.6     Gabelli Glbl Multimedia GGT 9.42 9.24 -1.9 39.5
                                                                                                                             Trading by ‘insiders’ of a corporation, such as a company’s CEO, vice president or director, potentially conveys                                                              Griffin Inst Access RE:I 26.84 NA NA 6.5
    BlackRock Utilities Infr BUI 20.96 21.33 +1.8        23.2     GDL Fund GDL                  11.60 9.83 -15.3 6.1         new information about the prospects of a company. Insiders are required to report large trades to the SEC                                                                     Griffin Inst Access RE:L 26.65 NA NA NS
    CBREClarionGlblRlEstIncm IGR 8.84 7.75 -12.3         16.0     India Fund IFN                31.98 28.48 -10.9 41.9       within two business days. Here’s a look at the biggest individual trades by insiders, based on data received by                                                               Griffin Inst Access RE:M 26.53 NA NA 5.7
    Central Fund of Canada CEF 13.23 13.05 -1.4          15.2                                                                                                                                                                                                                                              NexPointRlEstStrat;A 20.68 NA NA 7.7
                                                                  Japan Sml Cap JOF 13.34 12.20 -8.5 45.8                    Thomson Financial on December 22, and year-to-date stock performance of the company                                                                                           NexPointRlEstStrat;C 20.75 NA NA 7.5
    ClearBridge Amer Engy CBA             8.22 NA        -2.7     Korea Fund KF                 45.23 NA NA NA               KEY: B: beneficial owner of more than 10% of a security class CB: chairman CEO: chief executive officer CFO: chief financial officer
    ClearBridge Engy MLP Fd CEM          14.28 NA        -0.4                                                                                                                                                                                                                                              NexPointRlEstStrat;Z 20.77 NA NA 8.7
                                                                  Mexico Fund MXF               17.66 15.40 -12.8 12.8       CO: chief operating officer D: director DO: director and beneficial owner GC: general counsel H: officer, director and beneficial owner
    Clearbridge Engy MLP Opp EMO         11.13 NA        -7.1                                                                                                                                                                                                                                              NorthStar RE Cap Inc:Adv NA NA NA NS
                                                                  Morgan-Stanley Asia-Pac APF 20.80 18.05 -13.2 38.2         I: indirect transaction filed through a trust, insider spouse, minor child or other O: officer OD: officer and director P: president UT:
    Clearbridge Engy MLP TR CTR          11.42 NA        -2.9                                                                                                                                                                                                                                              Resource RE Div Inc:A 10.04 NA NA 5.5
                                                                  MS China a Shr Fd CAF 27.73 22.97 -17.2 41.9               unknown VP: vice president Excludes pure options transactions                                                                                                                 Resource RE Div Inc:C 10.04 NA NA 4.7
    Cohen & Steers Infr Fd UTF 25.37 23.27 -8.3           NA      MS Emerging Fund MSF 20.08 17.54 -12.6 36.0                                                                                                                                                                                              Resource RE Div Inc:D 10.20 NA NA 5.0
    C&S MLP Incm & Engy Opp MIE 10.57 10.00 -5.4          0.4     MS India Invest IIF           37.10 33.12 -10.7 54.3
    Cohen & Steers Qual Inc RQI 13.38 12.37 -7.5         12.3     New Germany Fund GF 21.95 19.93 -9.2 55.3
                                                                                                                             Biggest weekly individual trades                                                                                                                                              Resource RE Div Inc:I 10.46 NA NA 5.7
                                                                                                                                                                                                                                                                                                           Resource RE Div Inc:L 10.05 NA NA NS
    CohnStrsPfdInco RNP 22.56 20.64 -8.5                 16.8     Swiss Helvetia Fund SWZ 13.86 12.62 -9.0 26.9              Based on reports filed with regulators this past week                                                                                                                         Resource RE Div Inc:T 10.02 NA NA 4.7
    Cohen & Steers TR RFI 13.25 12.59 -5.0               14.1     Templeton Dragon TDF 24.40 21.21 -13.1 43.2                                                                                                                                                                                              Resource RE Div Inc:U 10.05 NA NA 5.5
                                                                                                                                                                                                                                       No. of shrs in Price range ($) $ Value
    CLSeligmn Prem Tech Gr Fd STK 21.15 22.73 +7.5       41.6     Templeton Emerging EMF 18.14 16.10 -11.2 47.8              Date(s)      Company                                         Symbol      Insider               Title      trans (000s) in transaction (000s)          Close ($) Ytd (%)       Resource RE Div Inc:W 10.20 NA NA 5.5
    Duff & Phelps DNP               9.70 10.68 +10.1     10.4     Virtus Total Return Fund ZF 13.38 12.77 -4.6 24.9                                                                                                                                                                                        SharesPost 100;A               26.76 NA NA -0.1
    Duff&PhelpsGblUtilIncFd DPG 17.37 15.40 -11.3         8.3     Voya Infr Indls & Matls IDE 16.91 16.80 -0.7 35.5          Buyers                                                                                                                                                                        SharesPost 100:I               26.77 NA NA NS
    Eaton Vance Eqty Inco Fd EOI 15.13 14.56 -3.8        26.2     Wells Fargo Gl Div Opp EOD           5.98 NA 24.0                                                                                                                                                                                        Tot Inc+ RE:L                    NA NA NA NS
                                                                                                                             Dec. 18      Global Water Resources                          GWRS        W. Levine          DOI            2,827               9.29         26,245   9.21   1.2
    Eaton Vance Eqty Inco II EOS 15.81 15.23 -3.7        25.9                                                                                                                                                                                                                                              USQ Core Real Estate:I USQIX 25.04 NA NA NS
                                                                                                          Prem12 Mo          Dec. 18      Proteostasis Therapeutics                         PTI       M. Barrett         DOI            2,000               5.00         10,000   5.73 -53.3
    EtnVncRskMngd ETJ 10.09 9.50 -5.8                    15.3     Fund (SYM)                  NAV Close /Disc Yld                                                                                                                                                                                          USQ Core Real Estate:IS USQSX 25.04 NA NA NS
    Etn Vnc Tax Mgd Buy-Write ETB 16.35 16.73 +2.3        7.0                                                                Dec. 13-14   Reata Pharmaceuticals                            RETA       R. Mcgaughy        DOI              200       23.98-24.88           4,958 26.29 20.4                 Versus Cap MMgr RE Inc:F 27.68 NA NA 5.7
                                                                  U.S. Mortgage Bond Funds                                   Dec. 13-14                                                               J. Traweek          BI              200       23.98-24.88           4,958                            Versus Cap MMgr RE Inc:I 27.75 NA NA 6.1
    Eaton Vance BuyWrite Opp ETV 15.03 15.36 +2.2        11.6
                                                                  BlackRock Income Trust BKT 6.58 6.11        -7.1     5.1   Dec. 14-18   Platform Specialty Products                      PAH        M. Franklin         DI              500          9.57-9.84          4,828 10.11    3.1               Versus Capital Real Asst VCRRX 25.09 NA NA NS
    Eaton Vance Tax-Mng Div ETY 12.37 12.24 -1.1         28.4
                                                                  Nuveen Mtg Opp Term Fd JLS 26.62 26.25      -1.4     5.3   Dec. 19      Prospect Capital                                 PSEC       J. Barry           CEO              450               6.92          3,116   7.26 -13.1               Wildermuth Endwmnt Str 12.96 NA NA 12.0
    Eaton Vance Tax-Mngd Opp ETW 11.59 11.96 +3.2        29.3
                                                                  Investment Grade Bond Funds                                Dec. 18                                                                  J. Barry           CEO              408          6.87-6.88          2,805                            Wildermuth Endwmnt S:C 12.78 NA NA 11.1
    EtnVncTxMngGlDvEqInc EXG 9.46 9.42 -0.4              29.5                                                                Dec. 14                                                                  J. Barry           CEO              369               6.82          2,515
                                                                  Blackrock Core Bond Tr BHK 14.79 13.88      -6.2     5.5                                                                                                                                                                                 Wildermuth Endwmnt S:I 13.03 NA NA NS
    Fiduciary/Clymr Opp Fd FMO 12.05 12.17 +1.0          -8.7                                                                Dec. 13                                                                  J. Barry           CEO              357          6.80-6.81          2,428
                                                                  BlkRk Credit Alloc Incm BTZ 14.74 13.27    -10.0     6.3   Dec. 15                                                                  J. Barry           CEO              248               6.87          1,703                            Income Preferred Stock Funds
    FT Energy Inc & Growth Fd FEN        24.44 NA         2.3
                                                                  John Hancock Income Secs JHS 15.29 14.76    -3.5     5.4                                                                                                                                                                                 MultiStrat Gro & Inc:A 15.21 NA NA 3.3
    FstTrEnhEqtIncFd FFA 16.59 16.37 -1.3                29.9                                                                Dec. 14-18   Biglari Holdings                                  BH        S. Biglari         DOI                6     408.61-414.01           2,328 418.73 -11.5
                                                                  MFS Inc Tr MIN                4.38 4.16     -5.0     9.4   Dec. 19-21                                                               S. Biglari         DOI                2     417.03-419.23             932                            MultiStrat Gro & Inc:C 14.87 NA NA 2.6
    First Tr Engy Infr Fd FIF 18.52 17.78 -4.0            3.7                                                                                                                                                                                                                                              MultiStrat Gro & Inc:I 15.41 NA NA 3.6
    First Tr MLP & Engy Incm FEI         14.87 NA         1.8     WstAstClymr InfLnkd Fd WIW NA 11.37          NA      3.7   Dec. 14      Discovery Communications                        DISCA       J. Malone          DO               102              19.86          2,033 23.73 -13.4
                                                                  WstAssetClymr InflLnk Sec WIA NA 11.66       NA      3.4                                                                                                                                                                                 MultiStrat Gro & Inc:L 14.99 NA NA 2.9
    Gabelli Hlthcr & Well GRX 11.80 10.22 -13.4          12.9                                                                Dec. 18      Achaogen                                        AKAO        R. Duggan           B                95              11.13          1,057 10.96 -15.8                The Relative Value:CIA VFLEX 25.59 NA NA NS
    Gabelli Utility Tr GUT 5.31 7.00 +31.8               25.5     Loan Participation Funds                                   Dec. 15      Akamai Technologies                                         F. Leighton        CEOI
                                                                                                                                                                                          AKAM                                             18              57.01          1,000 65.45 -1.8                 Convertible Sec's. Funds
    GAMCOGlblGoldNatRscs&Inc GGN 5.42 5.23 -3.5          17.6     Apollo Sr Fltg Rate Fd AFT 17.84 16.19      -9.2     7.5
                                                                                                                             Dec. 18      Trilogy Metals                                   TMQ        R. Van NieuwenhuyseCEO            1,159                .83            962   1.08 113.0               Calmos Dyn Conv and Inc CCD 20.76 20.41 -1.7 16.0
    Goldman Sachs MLP Inc Opp GMZ         8.71 NA        -3.4     BlkRk Debt Strat Fd DSU 12.67 11.54         -8.9     7.1                                                                                                                                                                                 World Equity Funds
                                                                                                                             Dec. 14      DepoMed                                          DEPO       A. Higgins         CEO               75               8.16            612   8.58 -52.4
    Goldman Sachs MLP Energy GER          6.07 NA       -10.2     BlackRock FR Incm Strat FRA 14.91 13.83     -7.2     5.8                                                                                                                                                                                 BMO LGM Front ME 10.85 NA NA 24.2
                                                                  Blkrk FltRt InTr BGT 14.39 13.83            -3.9     5.5   Dec. 19-20   IMPAC Mortgage Holdings                          IMH        R. Pickup           B               55*       10.05-10.45             561   9.99 -28.7
    John Hancock Finl Opps Fd BTO 37.51 39.25 +4.6       14.5                                                                                                                                                                                                                                              CalamosGlbTotRet CGO 13.53 15.03 +11.1 23.5
    Macquarie Glbl Infrstrctr MGU        24.90 NA        32.6     BlackstoneGSO Strat Cred BGB NA 15.81        NA      8.5                                                                                                                                                                                                                          Prem12 Mo
    Neuberger Berman MLP Incm NML 9.59 9.22 -3.9          3.2     Blackstone GSO Sr Float BSL NA 17.44         NA      6.7   Sellers                                                                                                                                                                       Fund (SYM)                   NAV Close /Disc Yld
    Neubrgr Brm Rl Est Sec Fd NRO 5.66 5.47 -3.4         14.4     Eagle Point Credit ECC NA 17.88              NA      8.6   Dec. 18      OneMain Holdings                                 OMF        W. Edens              DOI         7,500             25.10        188,250         25.38 14.6          U.S. Mortgage Bond Funds
    Nuveen Dow 30 Dynamic DIAX 19.05 18.78 -1.4          32.6     Eaton Vance FR Incm Tr EFT 15.48 14.38      -7.1     5.8   Dec. 18-19   Marsh McLennan Cos                               MMC        D. Glaser             CEO           619       82.70-82.96         51,214         80.69 19.4          Vertical Capital Income 12.65 NA NA 3.0
    Nuveen Core Eq Alpha JCE 16.17 15.94 -1.4            30.4     EatonVnc SrFltRate EFR 15.15 14.38          -5.1     6.1   Dec. 13-14   PVH                                              PVH        E. Chirico            CEO           370     131.21-133.45         49,092        135.60 50.3          Loan Participation Funds
    Nuveen Diversified Div JDD 12.91 12.40 -4.0          19.4     Eaton Vance Sr Incm Tr EVF 7.15 6.50        -9.1     5.7   Dec. 14-18   Colony NorthStar                                            D. Hamamoto           OD                                                                             504 Fund                        9.70 NA NA 3.7
                                                                                                                                                                                           CLNS                                         2226*       12.04-12.15         26,915         11.75 -21.2
    Nuveen Engy MLP Fd JMF 11.65 10.97 -5.8             -11.2     First Trust Sr FR Fd II FCT 14.06 12.86     -8.5     6.2                                                                                                                                                                                 FedProj&TrFinanceTender 10.10 NA NA NS
                                                                                                                             Dec. 20-21   Straight Path Communications                     STRP       D. Jonas              CEO           131*    181.33-181.46         23,826        181.54 435.4         Invesco Sr Loan A               6.67 NA NA 4.2
    Nuv NASDAQ 100 Dyn Over QQQX 23.00 24.40 +6.1        39.6     FT Sr Floating Rate 2022 FIV 9.72 9.22      -5.1     NS
                                                                                                                             Dec. 19-20   ServiceNow                                       NOW        F. Luddy               DI           170     128.79-130.24         22,002        129.19 73.8          Invesco Sr Loan B               6.67 NA NA 4.2
    Nuveen Real Est Incm Fd JRS 11.20 10.95 -2.2         13.5     Invesco Credit Opps Fund VTA 13.04 11.70   -10.3     7.3
    Nuv S&P 500 Dyn Overwrite SPXX       17.01 NA         NA      Invesco Senior Income Tr VVR 4.87 4.37     -10.3     5.9   Dec. 13      Bluebird Bio                                     BLUE       N. Leschly            CEO           118     181.72-188.49         21,629        179.55 191.0         Invesco Sr Loan C               6.68 NA NA 3.4
                                                                                                                             Dec. 19-20   Roper Technologies                               ROP        B. Jellison           CEO            82     258.99-260.59         21,160        259.53 41.8          Invesco Sr Loan IB              6.67 NA NA 4.4
    Nuveen S&P 500 Buy-Write BXMX 14.35 14.13 -1.5       19.2     Nuveen Credit Strt Inc Fd JQC 9.03 8.20     -9.2     7.5
                                                                                                                                                                                                                                                                                                           Invesco Sr Loan IC              6.67 NA NA 4.3
                                                                                                                             Dec. 14      GMS                                              GMS        R. Mueller            CBI           500             38.05         19,025         37.12 26.8
                                                                                                                                                                                                                                                                                                           Invesco Sr Loan Y               6.67 NA NA 4.4
                                                                                                                             Dec. 19-20   Skechers USA                                     SKX        R. Greenberg          CEOI          500       37.54-37.69         18,829         38.32 55.9          RiverNorth MP Lending RMPLX 24.64 NA NA 9.1
     ADVERTISEMENT                                                                                                           Dec. 18      Global Water Resources                          GWRS        T. Hill                D          1,900              9.29         17,642          9.21   1.2         Sierra Total Return:T SRNTX 24.90 NA NA NS
                                                                                                                             Dec. 18      Best Buy Co                                      BBY        R. Schulze             BI           250             66.83         16,708         67.11 57.3          Voya Senior Income:A 12.50 NA NA 5.3


     Legal Notices                                                                                                           Dec. 14-15   AbbVie                                          ABBV        L. Schumacher          O            146       96.71-96.86         14,072         98.21 56.8          Voya Senior Income:C 12.47 NA NA 4.8
                                                                                                                                                                                                                                                                                                           Voya Senior Income:I 12.46 NA NA 5.5
                                                                                                                             Dec. 19-21   Box                                              BOX        R. O Driscoll          DI           592       20.76-20.97         12,370         20.64 48.9
                                                                                                                                                                                                                                                                                                           Voya Senior Income:W 12.51 NA NA 5.5
                                                                                                                             Dec. 13-14   Twitter                                         TWTR        E. Williams            D            546*      21.65-22.77         12,079         24.46 50.1
     To advertise: 800-366-3975 or WSJ.com/classiﬁeds                                                                                                                                                                                                                                                      High Yield Bond Funds
                                                                                                                             Dec. 13-15   TransUnion                                       TRU        J. Peck               CEO           215*      54.74-55.53         11,802         55.16 78.3          Griffin Inst Access Cd:A NA NA NA NS
                                                                                                                             Dec. 14-15   Tyler Technologies                                TYL       L. Leinweber           DI            65     180.44-181.43         11,685        177.36 24.2          Griffin Inst Access Cd:C NA NA NA NS
                                                  CLASS ACTIONS                                                              Dec. 14-15   Nutanix                                         NTNX        D. Williams           CFO           300       35.33-35.40         10,609         34.84 31.2          Griffin Inst Access Cd:F NA NA NA NS
                                                                                                                                                                                                                                                                                                           Griffin Inst Access Cd:I NA NA NA NS
                                                                                                                             * Half the transactions were indirect **Two day transaction                                                                                                                   Griffin Inst Access Cd:L NA NA NA NS
                                                                                                                             p - Pink Sheets                                                                                                                                                               PIMCO Flexible Cr I;Inst NA NA NA NS
                                                                                                                                                                                                                                                                                                           PionrILSInterval                9.39 NA NA 10.5
                                                                                                                                                                                                                                                                                    WA Middle Mkt Dbt                NA NA NA 11.3
                                                                                                       Buying and selling by sector                                                                                                                                                  WA Middle Mkt Inc WMF NA NA NA 11.2
           1/ "(-$ 1$                            <" 16 C2K)G)K20%0) 4                 5             Based on actual transaction dates in reports received this past week                                                                                                          Other Domestic Taxable Bond Funds
        (*.<"-$ / -- 1B(";< <*.*-;-J <*BEB"                                                                                                                                                                                                                                                           Capstone Church Capital 11.53 NA NA 1.5
                       -*/B*$$                                                                                            Sector                                       Buying                  Selling          Sector                                            Buying                     Selling    CION Ares Dvsfd Crdt;A NA NA NA NS
                                                                      
                G6                                                                                                                                                                                                                                                                                         CION Ares Dvsfd Crdt;C NA NA NA NS
                                                                                                                             Basic Industries                          485,913              22,812,442             Finance                                    10,644,869                94,018,585
             6                                                                                                                                                                                                                                                                        CION Ares Dvsfd Crdt;I NA NA NA NS
                 6                                                                               Business services                         164,197               3,202,298             Health care                                   947,963                85,355,712         CNR Select Strategies 9.61 NA NA NS
           6                                                                                                    Capital goods                                   0                       0             Industrial                                    100,157                34,555,357         GL Beyond Income                3.51 NA NA NE
        6  /                                                                                                Consumer durables                          94,997              10,265,100             Media                                               0                10,003,210         Palmer Square Opp Income 19.45 NA NA 5.0
                                                                                                                    Consumer nondurables                       80,460              90,224,427             Technology                                  2,160,535                64,107,376         Resource Credit Inc:A 11.07 NA NA 6.4
                       "$"/ /B<6                                                                                           Consumer services                       1,084,582              92,263,541             Transportation                                      0                26,084,434         Resource Credit Inc:C 11.20 NA NA 5.6
                                                                                                                             Energy                                  3,225,806              16,720,137             Utilities                                       1,600                 2,568,651         Resource Credit Inc:I 11.09 NA NA 6.6
                                             
                                                                                                                                                                                                                                                                                                           Resource Credit Inc:L 11.07 NA NA NS
                 6 489   8 95 
                 2> DKK#   D> DK22                                                                                                                                                            Sources: Thomson Financial; WSJ Market Data Group                          Resource Credit Inc:W 11.07 NA NA 6.3
               
                   3E;<E/B B1 / ; "; 1$ B(" /*B" BB"<
       *<B;*B 1E;B $1; B(" 1EB(";/ *<B;*B 1$ -*$1;/* B(B  (";*/' H*-- " ("- 1/
       3;*- 2D DK2# B 2KKK 6.6 "$1;" B(" 1/1;-" B(J // "/*G"/'1 /*B"
                                                                                                                             Borrowing Benchmarks | WSJ.com/bonds
       BB"< *<B;*B E '" B B(" /*B" BB"< *<B;*B 1E;B $1; B(" 1EB(";/ *<B;*B 1$
       -*$1;/* 1E;B;11. & DD2 "<B ;1 HJ / *"'1  0D2K2 $1; B(" 3E;31<"                                                                                                                        Week        —52-WEEK—                                         Week       —52-WEEK—                                    Week         —52-WEEK—
       1$ "B";.*/*/' 425 H("B("; B(" 3;131<" <"BB-"."/B 1$ B(" -*.< */ B(" B*1/ $1;
       !D&KKKKKK 4!2DKD%KKK6KK */ <( 3-E< */B";"<B / !220>%KKK */ ;"/ 1..1/
                                                                                                                             Money                           Dec. 22, 2017
                                                                                                                                                                                                         Latest ago         High Low                                   Latest ago        High Low                              Latest ago          High Low

       <B1, 48"BB-"."/B (;"<95 4;"/ (< B(" 13B*1/ B1 3J -- 1; 3;B 1$ B(" "BB-"."/B
       (;"< */ <( B B(" B*." ;"/ *< B1 *<<E" B(" "BB-"."/B (;"<55 <(1E- " 33;1G"
                                                                                                                             Rates                                                                     Inflation                                            International rates                            Libor
                                                                                                                                                                                                                                                                                                           One month         1.56375   1.49500   1.56375   0.76111
       J B(" 1E;B < $*; +E<B ;"<1/-" /  "7EB"= 4D5 H("B(";  */- E '."/B /                                   Key annual interest rates paid to
       ; "; 1$ *<.*<<- H*B( ;"+E *" <(1E- " "/B";" J B(" 1E;B *<.*<<*/' B(" B*1/
                                                                                                                                                                                                      Nov. index       Chg From (%)              Prime rates                                               Three month       1.68577   1.61331   1.68577   0.99706
       H*B( 3;"+E *"= 4C5 H("B("; B(" -/ 1$ --1B*1/ *< $*; ;"<1/-" /  "7EB" /                                borrow or lend money in U.S. and                                             level        Oct. '17 Nov. '16         U.S.               4.50 4.50 4.50 3.75                    Six month         1.83363   1.77443   1.83363   1.31656
       <(1E- " 33;1G" = / 4&5 H("B("; B(" 33-*B*1/ 1$ " 1E/<"- $1; B(" 3J."/B                                       international markets. Rates                                                                                        Canada             3.20 3.20 3.20 2.70                    One year          2.10216   2.04763   2.10216   1.68456
       1$ BB1;/"J<: $""< / "I3"/<"< /         " -*/B*$$:< H; */ 1//"B*1/ H*B( B("                                 below are a guide to general levels                   U.S. consumer price index                                     Japan             1.475 1.475 1.475 1.475
       B*1/ <(1E- " 33;1G" 6                                                                                                                                                                                                                                                                           Euro Libor
                                                                                                                             but don’t always represent actual                     All items             246.669        0.002            2.2     Policy Rates
                                         2>                                                                                                  Core                  253.492        –0.06            1.7                                                               One month         -0.417    -0.409    -0.376    -0.417
       DKK#   D> DK22                                                                 transactions.                                                                                                       Euro zone          0.00       0.00     0.00        0.00   Three month       -0.385    -0.386    -0.334    -0.387
                 6 $ J1E (G" /1B ;""*G"  "B*-"                                                                                                                                                                       Switzerland        0.50       0.50     0.50        0.50   Six month         -0.321    -0.322    -0.227    -0.325
       1B*" 1$ "/ "/J / ;131<" "BB-"."/B 1$ -<< B*1/ 481B*"95 /  13J                                                                                                                                                             Britain            0.50       0.50     0.50        0.25   One year          -0.245    -0.261    -0.086    -0.261
       1$ B(" ;11$ 1$ -*. / "-"<" $1;. J1E .J 1B*/ 13*"< J H;*B*/' B1 ;"/                                                                                                                                                          Australia          1.50       1.50     1.50        1.50
       "E;*B*"< *B*'B*1/ @1  66 1I 2K%D? E-*/  &CK2>)K%D? 1; B                                                                                                                                                                                                                         Euro interbank offered rate (Euribor)
       HHH6;"/(;."EB*-<-<<B*1/"BB-"."/B61.6 $ J1E ;"  "BB-"."/B -<<                                                                                                                                                           Overnight repurchase
                                                                                                                             ADVERTISEMENT                                                                                                                                                                 One month         -0.367    -0.371    -0.366    -0.375
         "."; */ 1; "; B1 <(;" */ B(" *<B;*EB*1/ 1$ B(" "B "BB-"."/B E/  J1E .E<B                                                                                                                                                        U.S.               1.42       1.41     1.49        0.48


                                                                                                                             The Mart
       <E.*B  ;11$ 1$ -*. / "-"<" J .*- 4                                                                                                                                                                                                                                Three month       -0.329    -0.329    -0.317    -0.332
        5 1; <E.*BB" "-"B;1/*--J           "<B-*<(*/' B(B J1E                                                                                                                                                              U.S. government rates                             Six month         -0.271    -0.272    -0.217    -0.276
       ;" "/B*B-" B1 ;"1G";J6                                                                                                                                                                                                                                                                            One year          -0.186    -0.193    -0.081    -0.194
              $ J1E ;"  "BB-"."/B -<< "."; / J1E "<*;" B1 " "I-E " $;1. B("                                                                                                                                                             Discount
       -<< J1E .E<B <E.*B  ;"7E"<B $1; "I-E<*1/ <E( B(B *B *<                                       To advertise: 800-366-3975 or WSJ.com/classiﬁeds                                                                                       2.00       2.00     2.00        1.25
                                                                                                                                                                                                                                                                                                                                       Value        52-Week
                                                                                                                                                                                                                                                                                                                          Latest       Traded     High   Low
            */ B(" .//"; / $1;. "I3-*/" */ B(" "B*-" 1B*" ;"$";;" B1
       1G"6 -- "BB-"."/B -<< ".";< H(1 1 /1B B*."-J / G-* -J ;"7E"<B "I-E<*1/                                                                                                                                                          Federal funds
                                                                                                                                                                                                                                                                                                           DTCC GCF Repo Index
       $;1. B(" "BB-"."/B -<< */ ;"<31/<" B1 B(" 1B*" H*-- " 1E/ J /J +E '."/B                                           BUSINESS OPPORTUNITIES                                               TRAVEL                                    Effective rate    1.4400    1.4200    1.4400    0.5900
                                                                                                                                                                                                                                                                                                           Treasury         1.532      38.000 1.532 0.471
       "/B";" */ B(" B*1/ 3E;<E/B B1 B(" B*3E-B*1/6                                                                                                                                                                                         High             1.5625    1.5625    1.6125    0.8125
                                                                                                                                                                                                                                                                                                           MBS              1.555      99.150 1.555 0.496
              $ J1E ;"  "BB-"."/B -<< "."; J1E (G" B(" ;*'(B B1 1+"B B1 B("                                                                                                                                                            Low              1.1900    1.3000    1.3000    0.4000
       "BB-"."/B B(" -/ 1$ --1B*1/ 1; B(" $"" / "I3"/<" 33-*B*1/< 1; 1B(";H*<"                                    $1,000,000 Yearly - $5,000 DAILY                             Save Up To 60%                                       Bid              1.4100    1.4100    1.4100    0.4000                                        Open Implied
       ;"7E"<B B1 " ("; 6 1 1+"B J1E .J <E.*B  H;*BB"/ 1+"B*1/ */ 1; /" H*B(                                           Owner/Operator                                                                                            Offer            1.4300    1.4200    1.4300    0.5800                       Settle Change Interest Rate
       B(" 3;1" E;"< "<;*" */ B(" .1;" "B*-" 1B*" ;"$";;" B1 1G" / @1; J1E .J                                                                                                       First & Business
       33"; B B(" (";*/' "<;*" 1G"6 /J H;*BB"/ 1+"B*1/ .E<B " "-*G";" B1 B("                                              Medical Equipment                                         INTERNATIONAL                                    Treasury bill auction                                     DTCC GCF Repo Index Futures
       -";, 1$ B(" 1E;B /*B" BB"< *<B;*B 1E;B 1EB(";/ *<B;*B 1$ -*$1;/* CCC                                   Proprietary Software and Testing                           Major Airlines, Corporate Travel                       4 weeks              1.245 1.240 1.300 0.400              Treasury Dec       98.650 -0.005 3909 1.350
       "<B ;1 HJ E*B" &DK / *"'1  0D2K2 <E( B(B *B *<     
            6 1B" B(B B(" 1E;B / 1/-J 33;1G" 1; "/J B(" <"BB-"."/B /1B                                      Location and Financing Available                              Never Fly Coach Again!                             13 weeks             1.355 1.320 1.355 0.505              Treasury Jan       98.545 -0.015 2028 1.455
                                                                                                                                                                                                 www.cooktravel.net                              26 weeks             1.480 1.460 1.480 0.590              Treasury Feb       98.545 -0.005 813 1.455
       (/'" B(" B";.< 1$ B(" <"BB-"."/B6
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                                                                                                                                          612 840-8606                                            (800) 435-8776
                                                                                                                                                                                                                                                             Secondary market                              Notes on data:
                         $ J1E (G" /J 7E"<B*1/< 1EB B(" "BB-"."/B J1E
       .J 1/BB " 1E/<"- B B("  ;"<<"< -*<B" "-1H                                                                                                                                                                                       Fannie Mae                                                U.S. prime rate is the base rate on corporate
                                                                                                                                                                                                                                                                                                           loans posted by at least 70% of the 10 largest
                                                                                                                                          CAPITAL WANTED                                                                                         30-year mortgage yields                                   U.S. banks, and is effective December 14, 2017.
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                                                                                                                                                                                          THEMART
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                                                                                                                                                                                                                                                                      3.565 3.450 3.865 3.253
                                                                                                                                                                                                                                                                      3.597 3.469 3.899 3.281
                                                                                                                                                                                                                                                                                                           Other prime rates aren’t directly comparable;
                                                                                                                                                                                                                                                                                                           lending practices vary widely by location;
                                                                                                                                                                                                                                                                                                           Discount rate is effective December 14, 2017.
                                                                                                                                                                                                                                                         Other short-term rates                            DTCC GCF Repo Index is Depository Trust &
         4D2D5 ?#>)20#K
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                                                                 -,*/',3-/$1I61.
                                                                                                                                          Seeking Capital,                                        (800) 366-3975                                                                                           Clearing Corp.'s weighted average for overnight
                                                                                                                                                                                                                                                                               Week        52-Week
         +.3*<*,3-/$1I61.                                  HHH6,3-/$1I61.                                                  Accredited Investors Only.                                  sales.mart@wsj.com                                                   Latest              high   low
                                                                                                                                                                                                                                                                                                           trades in applicable CUSIPs. Value traded is in
                                                                                                                                                                                                                                                                                ago                        billions of U.S. dollars. Federal-funds rates are
         HHH6,3-/$1I61.                                                                                                     Breakthrough technology for producing                           For more information visit:                                                                                 Tullett Prebon rates as of 5:30 p.m. ET. Futures
                                                                                                                                   man-made genuine diamond,                                     wsj.com/classifieds
                                                                                                                                                                                                                                                 Call money
        1G"."; CK DK2>                                                                                                                                                                                                                                                           on the DTCC GCF Repo Index are traded on
                                                                                                               rapidly and inexpensively.                                                                                                         3.25    3.25     3.25       2.50   NYSE Liffe US.
                                                                                                         perfectdiamonds222@gmail.com                              © 2017 Dow Jones & Company, Inc.                       Commercial paper (AA financial)                           Sources: Federal Reserve; Bureau of Labor
                                                                                                                                                                                                 All Rights Reserved.                                                                                      Statistics; DTCC; SIX Financial Information;
                                                                                                                                                                                                                                                 90 days                1.60    1.54     1.67       0.72   Tullett Prebon Information, Ltd.
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4896 Page 38 of 50



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                             Exhibit C
        Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4897 Page 39 of 50




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 Kaplan Fox & Kilsheimer LLP Announces Proposed Settlement in the Arena Securities L... Page 1 of 4
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4898 Page 40 of 50




   Kaplan Fox & Kilsheimer LLP
   Announces Proposed Settlement in
   the Arena Securities Litigation

   NEWS PROVIDED BY
   Kaplan Fox & Kilsheimer LLP 
   09:00 ET




   SAN FRANCISCO, Dec. 26, 2017 /PRNewswire/ -- The following statement is being
   issued by Kaplan Fox & Kilsheimer LLP regarding the Arena Securities Litigation.


                              UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA


    TODD SCHUENEMAN, on behalf of himself      Case No. 3:10-cv-01959-CAB (BLM)
    and all others similarly situated,         CONSOLIDATED CLASS ACTION
                                               SUMMARY NOTICE
    Plaintiff,


    v.


    ARENA PHARMACEUTICALS, INC., JACK
    LIEF, ROBERT E. HOFFMAN, DOMINIC P.
    BEHAN, WILLIAM R. SHANAHAN, and
    CHRISTY ANDERSON,                                                                      
    Defendants.




 https://www.prnewswire.com/news-releases/kaplan-fox--kilsheimer-llp-announces-propo... 12/26/2017
 Kaplan Fox & Kilsheimer LLP Announces Proposed Settlement in the Arena Securities L... Page 2 of 4
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4899 Page 41 of 50


   TO: ALL PERSONS WHO PURCHASED THE COMMON STOCK OF ARENA
   PHARMACEUTICALS, INC. ("ARENA" OR THE "COMPANY") FROM MARCH 17, 2008
   THROUGH JANUARY 27, 2011, INCLUSIVE, AND WERE DAMAGED THEREBY,


   YOU ARE HEREBY NOTIFIED, pursuant to an Order of the United States District
   Court for the Southern District of California, that a hearing will be held on April 12,
   2018, at 10:00 a.m., before the Honorable Cathy Ann Bencivengo, United States
   District Judge, at the United States District Court for the Southern District of
   California, Courtroom 4C, 221 West Broadway, San Diego, CA 92101, for the
   purpose of determining: (1) whether the proposed settlement of the claims in the
   Action for $24,000,000 ($12,025,000.00 in cash, plus interest, and $11,975,000 in
   Arena common stock ("Settlement Shares") (Arena has the option to pay all or
   part of the Settlement Shares in cash at the time Arena is to issue the Settlement
   Shares)), should be approved by the Court as fair, just, reasonable, and adequate;
   (2) whether a Final Judgment and Order of Dismissal with Prejudice should be
   entered by the Court dismissing the Action with prejudice; (3) whether the Plan
   of Allocation is fair, reasonable, and adequate and should be approved; and
   (4) whether the application of Lead Counsel for the payment of attorneys' fees
   and expenses, and Lead Plaintiff's award in connection with the Action should be
   approved.


   IF YOU PURCHASED ARENA COMMON STOCK BETWEEN MARCH 17, 2008 AND
   JANUARY 27, 2011, INCLUSIVE, YOUR RIGHTS MAY BE AFFECTED BY THE
   SETTLEMENT OF THIS LITIGATION. If you have not received a detailed Notice of
   Pendency and Proposed Settlement of Class Action ("Notice") and a copy of the
   Proof of Claim and Release form, you may obtain copies by writing to Arena
   Securities Litigation, c/o GCG, P.O. Box 10526, Dublin, OH 43017-0526, or at
   www.ArenaPharmaceuticalsClassActionSettlement.com. If you are a Settlement
   Class Member, in order to share in the distribution of the Net Settlement Fund,

                                                                                           




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 Kaplan Fox & Kilsheimer LLP Announces Proposed Settlement in the Arena Securities L... Page 3 of 4
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4900 Page 42 of 50


   you must submit a Proof of Claim and Release by mail (postmarked no later
   than April 13, 2018) or submitted electronically no later than April 13, 2018,
   establishing that you are entitled to recovery.


   If you are a Settlement Class Member and you desire to be excluded from the
   Class, you must submit a request for exclusion such that it is postmarked no
   later than February 12, 2018, in the manner and form explained in the detailed
   Notice, referred to above. All Settlement Class Members who do not timely and
   validly request exclusion from the Settlement Class in response to the Notice will
   be bound by any judgment entered in the Action pursuant to the Stipulation.


   If you are a Settlement Class Member, you have the right to object to the
   Settlement, the Plan of Allocation, or the fee and expense applications, or
   otherwise request to be heard. To object, you may submit a written objection in
   accordance with the procedures described in the more detailed Notice, referred
   to above, and/or you may appear at the hearing described above. Any written
   objection must be delivered to the Clerk of the Court, United States District Court,
   Southern District of California, 333 West Broadway, Suite 420, San Diego, CA
   92101, such that it is postmarked no later than March 22, 2018. Note that the
   Court can only approve or deny the settlement, not change the terms of the
   settlement.


   PLEASE DO NOT CONTACT THE COURT OR THE CLERK'S OFFICE REGARDING
   THIS NOTICE. If you have any questions about the Settlement, you may contact
   Lead Counsel at the addresses listed below:


   Jeffrey P. Campisi
   KAPLAN FOX & KILSHEIMER LLP
   850 Third Avenue, 14th Floor
   New York, NY 10022                                                                      




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 Kaplan Fox & Kilsheimer LLP Announces Proposed Settlement in the Arena Securities L... Page 4 of 4
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4901 Page 43 of 50


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   350 Sansome Street, Suite 400
   San Francisco, CA 94104
   (415) 772-4700
   lking@kaplanfox.com
   www.kaplanfox.com


   DATED: November 30, 2017


   BY ORDER OF THE COURT
   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF CALIFORNIA




   SOURCE Kaplan Fox & Kilsheimer LLP


   Related Links

   http://www.kaplanfox.com
   http://www.arenapharmaceuticalsclassactionsettlement.com




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Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4902 Page 44 of 50




                             Exhibit D
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4903 Page 45 of 50
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4904 Page 46 of 50
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4905 Page 47 of 50
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4906 Page 48 of 50
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4907 Page 49 of 50
Case 3:10-cv-01959-CAB-BLM Document 160-2 Filed 03/08/18 PageID.4908 Page 50 of 50
